Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 1 of 65

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CAUsE No. C“°"Z‘"'E

 

N[DIA REYNA IN THE DISTRICT COURT
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vs. JUDICIAL DlSTRlCT

PALOMAR SPECIALTY INSURANCE
COMPANY AND
.IOHN CZUHAJEWSK]

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Defendants. HIDALGO COUNTY, TEXAS

PLAI'NTIFF"S ()RIGINAL PETITION AND REOUESTS FOR DISCI..OSURE

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Nidia Reyna hereinafter referred to as “Plainti.ff." complaining Palomar
Spec-ialty Insurance Cornpany and John Czuhajewski hereinafter collectively referred to as
“`Defendants__"` and hereby respectfully shows unto the Court and .Iury as follows:

1. DISCOVERY CONTROL PLAN

Plaintiff intends for discovery to be conducted under Level lII of Rule 190 of the Texas
Rules of C'ivil Procedure, Tliis case involves complex issues and will require extensive discoveryA
Therefore` Plaintiff asks the Court to order that discovery be conducted in accordance with a

discovery control plan tailored to the particular circumstances of this suit.

Il. RULE- 47 STATEMENT
Plaintiff seek monetary relief over $100,000.00 but not more than S.?.OU,()OU.{}(}, including
damages of any kind, penaltiesq costs_, expenses, pre-judgment interest__ and altorney"s fees

IIl. PART]ES
Plaintiff is an individual and resident of Hidalgo County_ Texasgate
A true copy l certify

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 2 of 65

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Defendant Palornar Specialty Insurance Company (hereinafter individually referred to as
`“Palomar") is an insurance company, which on information and beliefq is eligible to conduct the
business of insurance in Texas. lt can be served with citation by serving CT Corporation System by
certified mailn return receipt requested, at: 1999 Bryan Streetq Suite 900, Dallas, Tcxas ?5201~3140
Service of process is requested by private process as authorized by this Court.

Defendant John Czuhajewski (hereinafter individually referred to as "C`zuhaje\\-*ski"`) is an
insurance adjuster licensed in the State of Texas. which on information and beliefs is eligible to
conduct the business of insurance in Texas. Defendant Czuhajewski can be served with citation by
personal service at: ?05 Allen Street, C`opperas Cove. Texas ?6522-3151. Service of process is

requested by private process as authorized by this Court.

IV. JURISDICTION AND VENUE

Tbis Court has Jurisdiction over this case in that the amount in controversy exceeds the
minimum jurisdictional limits of this Court.

Venue is mandatory and proper in Hidalgo County, 'l`exas1 because all or a substantial part
of the events giving rise to the lawsuit occurred in this Hidalgo County (sr'e Tex. C`iv. Prac. & Rem.
Code §]5.00?.) and the insured property that is the basis of this lawsuit is located in Hidalgo
County1 Texas. See Tex. lns. Code §22](}.552 and Tex. Civ. Prac. & Rem. Code §15.032 (see
below). Venue is proper and mandatory in Hidalgo County against all the Defendants in this case
because venue is mandatory andfor proper against at least one Defendant and all claims or actions in
this case arise out of the same transaction1 occurrence, or series of transaction or occurrences Sr-'e

Tex. Civ. Prac. & Rern. Code §15.005.

V. CONDITIONS PRECEDENT

All conditions precedent to recovery have been performed waived, or have occurred.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 3 of 65

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VI. FACTS

PlaintiFf is the holder of Policy PlC-428 and maintained by Defendant Palomar.
Plaintiff is owner of the property which is specifically located at: 2516 Gull Avenuc, McA]len.
Hidalgo C`Ounty, Texas ?8504-43 25 (hereinaf`ter referred to as the "Property").
Defendant Palornar, or their agents”representatives, sold a policy to Plaintiff insuring the
Property {`hereinafter referred to as the “`Policy"). Defendant Palomar represented to the
Plaintif'f that the Policy was sufficient to cover any possible damages to the Property and
Plaintiff relied on those represel'rtationsl Policy is attached and incorporated as ”“Exhibit A."'
Defendant Palomar represented that the Plaintiif had adequate personal property and dwelling
coverage for the benefit of the Plaintiff` s Property.
011 or about March 26. 2015` a wind and hailstonn caused significant damage to the exterior
and also the interior of the Property as well of which Plaintiff reported a loss to Defendant
Palomar.
Plaintiff submitted a claim against the Poliey for damage sustained to the Property as a result of
the wind and hailstom and Defendants assigned PSl~68475(hereinaiter referred to as the
"Claim"}. Plaintiff requested that Defendant Palomar cover the cost of repairs to the Property,
replace or repaired damaged covered personal property, and if warranted, allocated loss of use
payment pursuant to the Policy and any other available coverage under the Policy.
Prior to Plaintiff purchasing the Policy. the Defendant Palomar represented to Plaintiff that
damages like what the Property sustained by the cause of damage would be covered by the
Policy if such damage occurred Defendant Palomar further represented that it was a quality
insurance company, a reputable insurance companyJ with few complaints and that Defendant
Palomar would pay Plaintiff fairly for damage to the Property in the event of a clairn, that
Defendants collectively would treat Plaintiff fairly, and that Plaintiff's Policy provided

coverage for the Property. l\/loreover1 Defendants collectively represented that they would not

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 4 of 65

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C-0772-1 7-E
conduct an outcome-oriented investigation of Plaintiffs claiml1 and that overall Plaintiff would
be adequately and fairly compensated ifPlaintiff's Property sustained damage from a wind and
hailstonn, and Plaintiff made a claim under the Policy. These and other representations by
Defendant Palornar were false and were either negligently made to Piaintiff, recklessly made
without any knowledge of their truth or their falsity, or they were made knowingly and
intentionally regarding their falsity. These misrepresentations were made to induce Plaintiff to
purchase the Policy from Defendant Palomar_1 and Plaintiff did. in fact, rely on these
misrepresentations in deciding to purchase the Policy from Defendant Palomar.

Without limitation._ Defendant Czuhajewski"s narrow assessment negligently misrepresented
the duty to properly evaluate all the damages that had occurred by simply ignoring the damage
to the entire Property with an outcome oriented analysis of minimal areas of the dwelling
damages alone. Defendant Czuhajewski failed to account for the cost of repair, replacement,
andfor removal of the damaged Property as a result of the cause of damage to return the
property to pre-loss condition Defendants have also failed to account for the Plaintift` S out-of-
pocket cost to mitigate the loss as well as the amount of insurance coverage for Plaintiff’s
elairnf loss under Plaintiff"s Policy.

Defendants failed to properly adjust the claims and have denied at least a portion of the claims
with an inadequate investigation by solely relying on Defendant C`zuhajewski`s narrowly
tailored and grossly misrepresented inspection1 even though the Policy provides coverage for
losses such as those suffered by Plaintiff.

Furthermore, these false representations made by Defendant Czuhajewskj in his misrepresented
damage assessment was intentionally incorporated by the Defendant Palomar to minimize
payment on the claim1 have and continue to allow Defendants to financially gain by wrongfully

denying at least a portion of Plaintiff`s Claim.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 5 of 65

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C-0772-1 7-E
Plaintiff"s Claim still remains unpaid and she still has not been able to properly repair the
Property due to the outcome-oriented investigation misrepresentations and failures of
Defendaan to properly adjust the damage and promptly submit full payment per the Policy.
Defendants have failed to perform its contractual duty to adequately compensate Plaintiff under
the terms of the Policy. Specificallyq Defendant Palomar failed and refused to pay on the
Policy, although due demand was made for proceeds to be paid in an amount sufficient to cover
the damaged Property due to the wind and hailstorm. All conditions precedent to recovery upon
the Policy had been carried out and accomplished by Plaintiff. Defendant Palomar`s conduct
constitutes a breach of contract between the Defendant Palomar and Plainti ff.
Defendant Czuhajewski`s outcome-oriented investigation was a misrepresentation to Plaintiff
by failing to account for the total damages inflicted upon Plaintiff`s Property due to the cause of
damage Defendant Palomar accepted the misrepresentations from Defendant Czuhaj ewski and
incorporated them into the denial of at least a portion of Plaintifl` s claim by indicating the loss
was not covered. Defendants` conduct constitutes a violation of the Texas lnsurance Codeq
Misrepresentation Regarding Policy or lnsurer. TEX. INS. CODE Section 541.060 (a)(l).
Defendant Palomar failed to make an attempt to settle Plaintift`s claim in a fair manner, even
though they were aware of their liability to Plaintiff under the Policy. Defendant Palomar’
conduct constitutes a violation of the Texas insurance Code. Unfair Settlement Practices. TEX.
INS. CODE Section 541.060(a)(2)(A).
Defendant Palomar failed to perform its contractual duty to adequately compensate Plaintiff
under the terms of the Policy. Specifically. Defendant Palornar failed and rcfi.tsed to pay on the
Policy1 although due demand was made for proceeds to be paid in an amount sufficient to cover
the damaged Property and all conditions precedent to recovery upon the Policy had been
carried out and accomplished by Plaintiff. Defendant Palomar’s conduct constitutes a breach of

contract between the Defendants and Plaintiff.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 6 of 65

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Reviewed By: A|e><is Boni||a

C-0772-17-E
Defendants andfor its representative including Defendant Czuhajewski`s misrepresentations to
Plaintiff that they performed a thorough investigation; however, in reality Defendants refused
to assess the total damages inflicted upon Plaintiff’s Property due to the wind and hailstorm.
Defendants` conduct constitutes a violation of the Texas lnsurance Code. Misrepresentation
Regarding Policy or lnsurer. TEX. fNS. C.`ODE Section 541.060 (a)(l ].
Defendants failed to make an attempt to settle Plaintiff`S claim in a fair manner, even though
Defendants were aware of their liability to Plaintiff under the Policy. Defendants" conduct
constitutes a violation of the Texas lnsurance Code, Unfair' Settlement Practices. TEX. [NS.
C`ODE Section 541.060(a)(2)(A).
Defendant Palomar failed to explain to Plaintiff the reasons for their offer of an inadequate
settlement Specifically. Defendant Palomar failed to offer Plaintiff adequate compensation,
without further investigating the damages cause to the dwelling and entire Property due to the
wind and hailstorm. Fl.uthermore. Defendant Palomar did not communicate that any possible
future settlements or payments would be forthcoming to pay for the entire loss covered under
the Policy, nor did they provide any explanation for the failure to adequately settle Plaintiff"s
Claim. Defendant Palomar’s conduct constitutes a violation of the Texas lnsurance Code,
Unfair Settlement Practices. TEX. lNS. CODE Section 541.06(] (a)(§).
Defendant Palomar failed to affirm or deny coverage of Plaintiff s Claim within a reasonable
tirne. Specifieally. Plaintiff did not receive timely indication of acceptance or rejection,
regarding the full and entire Claim, in writing from Defendant Palomar despite the evidence
presented depicting the wind and hailstorm damage to the Property. Defendant Palomar`s
conduct constitutes a violation of the Texas lnsurance Code1 Unfair Settlement Practices. TEX.
[NS. C`ODE Scction 541 _(lt')()(a)(4).
Defendants refused to compensate Plaintiff, under the terms of the Policyn because Defendants

failed to conduct a reasonable investigation of the wind and hailstorrn damage to the Property.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 7 of 65

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Reviewed By: A|exis Boni|la

C-0772-17-E
Speciftcally, Defendant Czuhajewski performed a substandard outcome-oriented investigation
of Plaintiff s damage by failing to fairly and adequately inspect the entire Property;
F\.u‘thermore1 Defendant Palomar accepted Defendant Czuhajewski’s misrepresentations of the
Property damage and incorporated them into the denial of at least a portion of Plaintiff" s Claim.
This negligently conducted inspection resulted in Defendant Palomar`s biased, unfair, and
inequitable evaluation of Plaintiff" s loses to the Property as covered by the Policy. Defendants"
conduct constitutes a violation of the Texas hisurance Code, Unfair Settlement Practices. TEX.
lNS. CODE Section 541 .{}60 (_a)(?).
Defendant Palomar failed to meet its obligations under the Texas lnsurance Code regarding
timely acknowledging Plaintiff`s Clairn, begirming an investigation of Plaintiffs Claim and
requesting all information reasonably necessary to investigate Plaintiff's Claim within the
statutorin mandated deadline Defendant Palomar"s conduct constitutes violation of the Texas
lnsurance Code1 Prompt Payment of Claims, TEX. lNS. CODE Section 542.055.
Defendants failed to accept or deny Plaintiff`s hill and entire Claim within the statutory
mandated deadline of receiving all necessary information Defendant Palomar"s conduct
constitutes violation of the Texas lnsurance Code. Pronipt Payment of Claims. TEX. lNS.
CODE Section 542.056.
Defendants Palomar failed to meet its obligations under the Texas lnsurance Code regarding
payment of Plaintift"s Claim without delay. Specifically, Defendants have delayed full
payment of Plaintiff' s Claim longer than allowed and, to date; Plaintiff has not yet received full
payment for her claim. Defendant Palomar’s conduct constitutes violation of the Texas
lnsurance Code, Prompt Payment of Claims, TEX. lNS. CODE Section 542.053.
From and after the time Plaintiff"s Claim was presented to Defendants, the liability of
Defendant Palomar to pay the hill claim in accordance with the temls of the Policy was

reasonably clear. l-lowever, Defendant Palomar has refused to pay Plaintiff in full, despite

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 8 of 65

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there being no basis whatsoever on which a reasonable insurance company would have relied
to deny the full paymentl Defendant Palomar`s conduct constitutes a breach of the common
law duty of good faith and fair dealing

Y. As a result of all of Defendants` wrongful acts, misrepresentations, and omissions as set forth
herein. Plaintiff was forced to retain the professional services of the attorney and law firm who
is representing Plaintiff with respect to these causes of action.

Z. Plaintiff"s experience is not an isolated case. The wrongful acts, misrepresentations and
omissions committed by Defendants in this case_, or similar acts and omissions1 occur with such
frequency that they constitute a general business practice of Defendants with regard to handling
these types of claims. Defendants" entire process is unfairly biased and designed to reach

favorable outcomes for the company at the expense of the policyholder

VII. THEORIES OF LIABILITY

A. Cause of Action for Breaeh of Contract

According to the lnsurance Policy that Plaintiff purchased1 Defendants have the duty to
investigate and pay l’laintiff` s policy benefits for claims made for covered damages including
additional benefits under the Policy, resulting from wind and hailstorm. As a result of the wind and
hailstorm._ which is a covered peril under the Policy, Plaintiff` s Property has been damaged

Defendants’ failure and refusal, as described above, to pay the adequate compensation as it
is obligated to do under the terms of the Policy in question, and under the laws of the State of
Texas, constitutes a breach of Defendants` contract with Plaintiff. As a result of this breach of
contract, Plaintiff has suffered the damages that are described in this petition.
B. Cause of Action for Violation of Section 542

Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 9 of 65

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Reviewed By: Alexis Boni||a

C-0772-17-E

Defendants` wrongful acts, omissions, failures and conduct that are described in this petition
violate Section 542 of the Te)tas lnsurance Code` including without limitation the
misrepresentations made by any of the Defendants as set forth above which were made to and
which did, in fact, induce Plaintiff into purchasing the Policy from Defendants.

Witbin the timeframc required after the receipt of either actual or written notice of Plainti'fi"' s
Claim, Defendants did not request from Plaintiff any items and forms that it reasonably believed at
that time would be required for adequately processing Plaintiffs Claim. As a result, Defendants
have violated Section 542 by failing to accept or reject Plaintiff` s Claim in writing within the
statutory timefratne. Defendants also violated Section 542 by failing to pay Plaintift"s Claim within
the applicable statutory period ln addition._ in the event it is determined Defendants owe Plaintiff
any additional monies on Plaintiff"s Claim, Defendants have automatically violated Section 542 in
this case.

C. DTPA Cause of Action

Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs
herein.

Plaintiff incorporates all the allegations in this petition for this cause of action against
Defendants under the provisions of the DTPA, including without limitation the misrepresentations
made by the Defendants as set forth above Which were made to and which did1 in fact__ induce
P]aintiff into purchasing the Policy from Defendants. Plaintiff is a consumer or intended beneficiary
of goods and services, provided by Defendants pursuant to the DTPA. Plaintiff has met all
conditions precedent to bringing this cause of action against Defendants.

By its acts_. omissions1 failures_. and conduct that are described in this petition, The
Defendants have violated Sections 17.46 (b)(£), (5), (?). (9)1 (]2)` (20) and (24) of the DTPA. ln
this respect, Defendants` violations include1 without limitation1 (l) its unreasonable delays in the

investigation, adjustment and resolution of PlaintifFS Claim, (2) its failure to give Plaintiff the

Page ii of l?

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 10 of 65

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Hidaigo County District Clerks
Reviewed By: A|exis Bonilla

C-0772-17-E
benefit of the doubt. and (3) its failure to pay for the proper repair of l’laintiff`s horne on which
liability had become reasonably clear. which gives Plaintiff the right to recover under Section 1146
(b)(zl-

As described in this petitionn Defendants represented to Plaintiff that its insurance policy,
adjusting, and investigative services such as performed by Defendant Czuhajewski had
characteristics or benefits that it did not have, which gives Plaintiff the right to recover under
Section 1146 (b)(5) ofthe DTPA;

As described in this petition, Defendants represented to Plaintiff that its insurance policy
adjusting and investigative services, and specifically Defendant Czuhajewski`s adjusting and
investigative services were of a particular standard, quality1 or grade when they were of another in
violation of Section 17.46 (b)(?) ofthe DTPA;

As described in this petition, Defendants advertised its insurance policy, adjusting and
investigative services such as Defendant Czuhajewski’s estimate of damages would be fair,
unbiased, and of a particular standard, with actual intent to not sell them to Plaintiff as advertised in
violation of Section 17.46 (b)(9) of the DTPA;

As described in this petition, Defendants failed to disclose information concerning goods or
services which were known at the time of the transaction and such failure to disclose information
such as Defendants biased investigatory claims practices, was intended to induce Plaintiff into a
transaction into which the Plaintiff would not have entered had the information been disclosed,
which gives Plaintiff the right to recover under Section 1146 (b)(24) of the DTPA;

Defendants have breached an express warranty that the damage caused by wind and
hailstorm would be covered under the insurance policies. This breach entitles Plaintiff to recover
under Sections 17.46 (b)(12) and (20) and 17.50 (a)(?) of the DTPA;

Defendants` actions, as described in this petition1 are unconscionable in that it took

advantage of Plaintiffs lack of knowledge, ability` and experience regarding but not limited to

Page IU ofl ?

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 11 of 65

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Reviewed By: A|exis Boni||a

C-0772-17-E
insurance procedures claims processing, and assessment cf property damage to a grossly unfair
degree. Defendants` unconscionable conduct gives Plaintiff the right to relief under Section
17.50(3)(3) of the DTPA; and

Defendants` conduct, acts. omissions, and failurcs, as described in this petition. are unfair
practices in the business ofinsurance in violation of Section 1150 (a)(4) of the DTPA.

All of the above-described acts, omissions, and failures of Defendants are a producing cause
of Plaintiff s damages that are described in this pctition. Furtherrnore, Plaintiff was the intended
beneficiary of Defendant Czuhajewski`s grossly negligent inspection and misrepresented estimate
of damage to the Property, to which Defendant Palomar incorporated the misrepresentations into the
denial of at least a portion of Plaintist Claim. All of the above-described acts, omissions, and
failures of Defendants were done knowingly and intentionally as those terms are used in the Texas
Deceptive 'frade Practic es Act.

D. Cause of Action for Unfair lnsurance Practices

Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs
herein.

Plaintiff incorporates all the allegations in this petition for this cause of action against
Defendants under the Texas lnsurance Code, including without limitation the misrepresentations
made by any of the Defendants as set forth above which were made to and which didj in fact, induce
Plaintiff into purchasing the Policy from Defendants. Whereas, Plaintiff has satisfied all conditions
precedent to bringing this cause of action. By its acts, omissions. failures1 and conduct Defendants
have engaged in unfair and deceptive acts or practices in the business of insurance in violation of
541 of the Texas lnsurance Code. Such violations include_. without Iimitation, all the conduct
described in this petition plus Defendants` unreasonable delays in the investigation. adjustment1 and
resolution of Plaintitf’s claim. Defendants" failure to pay for the damage to Plaintiff s personal

property and proper repair of Plaintiff’ 5 real property on which liability had become reasonably

Page ll of t?

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 12 of 65

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clear; engaging in false, misleading and deceptive acts or practices in the business of insurance in
this case; and misrepresenting to Plaintiff pertinent facts or policy provisions relating to the
coverage at issue. They further include .Defendants` failure to give Plaintiff the benefit of the doubt
Specifically1 Defendants are guilty of thc following unfair insurance practices:

A. Engaging in false, misleading and deceptive acts or practices in the business of
insurance in this case;

B. Engagin g in unfair claims settlement practices;

C. Defendant Czuhajewski"s negligently conducted an outcome oriented inspection of
Plaintiffs Property resulting in misrepresentations of pertinent facts or policy
provisions relating to the coverage at issue, and Defendant Palomar`s incorporation
of those misrepresentations in retiising to pay at least a portion of the Claim;

D. Not attempting in good faith to effectuate a prompt, fair, and equitable settlement of
claims submitted in which liability has become reasonably clear;

E. Failing to affirm or deny coverage of Plaintiff`s Claim within a reasonable tirne;

Refusing to pay Plaintiff`s Claim without conducting a reasonable investigation with
respect to the clainr; and

G. F ailing to provide promptly to a policyholder a reasonable explanation of the basis in
the insurance policy in relation to the facts or applicable law for the denial of a claim
or for the offer of a company`s settlement

Defendants have also breached the Texas lnsurance Code when it breached its duty of good
faith and fair dealing Defendants" conduct as described herein has resulted in Plaintiffs damages
that are described in this petition.

All of the above-described acts. omissions. and failures of Defendants were done knowingly
as that term is used in the Texas lnsurance Code.

E. Cause of Action for Brcach of Duty of Good Faith and Fair Dealing

Plaintiff re-alicgcs and incorporates by reference all previous and subsequent paragraphs
herein.

Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of action1
including without limitation the misrepresentations made by any of the Defendants as set forth

above which were made to and which did_ in fact1 induce Plaintiff into purchasing the Policy from

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 13 of 65

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Defendants. By its actsq omissions, failures and conduct, Defendants have breached its common
law duty of good faith and fair dealing by failing to pay the proper amounts on Plaintiff`s entire
Claim without any reasonable basis and by failing to conduct a reasonable investigation to
determine whether there was a reasonable basis for this denial. Defendants have also breached this
duty by unreasonably delaying payment of Plaintiff"s entire Claim and by failing to settle Plaintiffs
Claim because Defendants knew or should have known that it was reasonably clear that the Claim
was covered. These acts, omissions, failures. and conduct of Defendants are a proximate cause of
Plaintiff s damages

F. Mjsrepresentation

Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs
herein.

Defendants made misrepresentations as set forth above which were made to and which did,
in fact induce Plaintiff into purchasing the Policy from Defendants. These misrepresentations were
made to induce Plaintiff to purchase the Policy from Defendants. and Plaintiff did in fact, rely on these
misrepresentations in deciding to purchase the Policy from Defendants. Furthermore, Plaintiff was the
intended beneficiaries of Defendant Czuhajewsl<i"s investigative services to which eventually revealed
a misrepresentation of the actual damages to the Property1 and Defendant Palomar incorporated those
misrepresentations into the denial of at least a portion of Plaintiff s Claim.

Tbese negligent, reckless, or intentional misrepresentations of Defendants were the
proximate cause of damage to the Plaintiff.

G. Fraud

Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs
herein.

Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of action.

Defendants by and through its agents andfor representatives made false representations, andfor false

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 14 of 65

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promise to Plaintiff. These false representations and;“or false promises made by Defendant
Czuhajewski were material misrepresentations or omissions of fact regarding the Property damage
and Policy coverageq and Defendant Palomar incorporated those misrepresentations into the continued
denial of at least a portion of Plaintiff s claim. Defendant Czuhajewski`s outcome oriented
investigation and biased claims process has now revealed that Defendant Palomar`s representations1
andfor promises were also false and were made either intentionally, recklessly, or without regard to
their truth, and with the intent to induce Plaintiff into purchasing the insurance policy at issue, and
accepting as true and correct the adjustment of Plaintiff`s Claim. As a result of Defendants1 material
misrepresentations and omissions to which Plaintiff detrimentally relied upon. Plaintiff has suffered
damages substantially in excess of the minimum jurisdictional limits of this Court.

The fraudulent acts andfor omissions of the Defendants as set forth herein, are sufficient__
under Chapter 41 of the Texas Civil Practices and Remedies Code_. to justify the imposition of
punitive damages against Defendants. These reckless andfor intentional misrepresentations of

Defendants were the proximate cause of damage to the Plaintiff.

Vlll. WAIVER AND ESTOPPEL
Defendants have waived and are estopped from asserting any coverage dcfenses, conditions,

exclusions, or exceptions to coverage not contained in any reservation of rights letter to Plaintiff.

lX. DAMAGES
The above described acts, omissions, failures and conduct of Defendant has caused
Plaintiff"s damages which include_ without limitation. the cost to properly repair Plaintiffs real
property and any investigative andi’or engineering fees incurred in the claim. Plaintiff is also
entitled to recover consequential damages from Defendant`s breach of contract Furthennore,

Plaintiff has suffered independent injuries due mental anguish and also due to the increase in the

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 15 of 65

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Hidalgo County Distn'ct C|nrks
Reviewed By: A|exis Boni||a

C-0772-17-E
costs of labor and materials to properly restore the Property to pre-loss condition from the date of
loss through the pending claim. Plaintiff is also entitled to recover the amount of Plaintiff`s claim
plus an 18% per annum penalty on that claim against Defendant as damages under Section 542 of
the Texas lnsurance Code1 plus prejudgment interest and attorneys’ fees. All the damages described

in this petition are within the jurisdictional limits of the Court.

X. ADDITIONAL DAMAGES
Defendants also "knowingly" and “"intentionally" committed deceptive trade practices and
unfair insurance practices as those terms are defined in the applicable statutes Because of
Defendants` knowing and intentional misconduct, Plaintiff is entitled to additional damages as
authorized by Section l?.$(](b)(l) of the DTPA. Plaintiff is further entitled to the additional

damages that are authorized by Section 541 of the Texas lnsurance Code.

XI. EXEMPLARY DAMACES

Defendanls` breach of its duty of good faith and fair dealing owed to Plaintiff was done
intentionally, with a conscious indifference to the rights and welfare of Plaintiff and with "`ntaliee"
as that term is defined in C`hapter 41 of the Texas Civil Practice and Remedies Code. These
violations by Defendants are the type of conduct which the State of Texas protects its citizen against
by the imposition of exemplary damages Therefore_1 Plaintiff seeks the recovery of exemplary
damages in an amount to be determined by the finder of fact that is sufficient to punish Defendants
for their wrongful conduct and to set an example to deter Defendants and others similarly situated

from committing similar acts in the future.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 16 of 65

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Reviewed By: Alexis Boni||a

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XII. ATTORNEYS’ FF.`.ES

As a result of Defendants` conduct that is described in this petition_. Plaintiff has been forced

to retain the undersigned attorneys to prosecute this action and have agreed to pay reasonable

attorneys' fees. Plaintiff is entitled to recover these attorneys' fees under Chapter 38 of the Texas

Civil Practices and Remedics Code_ Sections 541 and 542 of the Texas lnsurance Code, and Section
1150 ofthe D'I`PA.

X]II. JURY DENIAND

Plaintiff asserts Plaintiffs right to a trial by jury, under Texas Constitution Article ]` Section

15` and makes this demand for ajury trial at least 30 days before the date this case is set for trial1 in

accordance with Texas Rule of Civil Procedure 216. Plaintiff tenders the fee of $3().00, as required

by Tcxas Govemment Code Section 5l .604.

XIV. REOUEST FOR DISCLOSURE
Defendants, within 50 days after service of this I’etition1 are requested to furnish the

information and material described in Texas Rules of Civil Procedure 19{}.2(6) and 194.?..

XV. PRAYER
WnEREFoRE` PREMISES CoNsIDERi-:n, Plaintiff pray that Defendants be cited to appear and
answer herein, and that upon trial hcreof, said Plaintiff has and will recover such sums as would
reasonably and justly compensate them in accordance with the rules of law and procedure, both as
to actual damages, consequential damages1 treble damages under the Texas lnsurance Code and
Texas Deceptive Trade Practices Act, and all punitivc., additional, and exemplary damages as may
be found. In addition, Plaintiff request the award of attorneys` fees for the trial and any appeal of

this case. for all costs of court1 for prejudgment and postjudgment interest as allowed by law, and

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 17 of 65

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Reviewed By: Alexls Boni||a

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for any other and further relief, at law or in equity, to which he may show himself to be justly

entitled

Respectfully submitted,

WAYNE WR]G!IT, ]_.LP
5?07 lnterstate Ten West
San Antonio, Texas 782(}1
(210) 734»?077 (Telephone)
(2]0) ?34-9965 (Facsimile)

By: !sf Brent L.Klender fs!

BRENT L. KLENDE.R

bldender{a.§wayuewright.com
Texas State Bar No. 24095204

HAROI.D MCCALL
binccall(dlwavnewright.com
Texas State Bar No. 240542?9

DON CROOK

dcrook(`d.lwavnewri aht.com

Texas State Bar No. 00?83901
ATTORNEYS FOR PLAINTIFF

 

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17

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Wel[lngton

June 4, 2015

tntegraClaim, LLC

Tezas Pub|ic Adjuster License #1803950

3911 N 10‘*‘ streetf suite N
McAllen, TX. 78501

RE: Claim Number:
Poticy Number:
lnsured:

Loss Location:
Date of Loss:
insurance Company:

Dear le. Soto:

PS|-68475

PlC~428

Nidia Reyna

2515 Gu|| Ave. McA||en, TX. 78504
March 26, 2015

Palomar Specia|ty lnsurance Company

Per vour request enclosed is a copy of the insurance policy for Nidla Reyna.

We request that you contact the undersigned as soon as possible to discuss this claim.

Siricere|y,

/F?";//--_---_“‘~

Tory Warren
817-697-3565

claims@we||inggoninsgroup,com

We||ington Claim Servlce, lnc.
P.O. Box 1115, FO|"l' WOl'th, TX _)'61[}1

Phol'le: 817-738-`1878 * 800~447-5465 FaK: 817-732-2131

www.We!lington|nsGroup.com

Page 18 of 65

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 19 of 65

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Wel|ington Risk insurance Agency, lnc.

e l n g 0 n F‘.O. Box230 ' FortWorth, TX 76101
817-732-2111 - 800-880-0474

R l S K wm_Wel!ington|nsGroup.eom

02/22/2015

NIDIA REYNA
2516 GULL AVB
MCALLEN.TX 75504-4325

REZ erc innocuous

Dear; NJ:I)IA name

We|lington Risk insurance Agency, |nc. manages your new insurance policy on behalf of your
agency. Thank you for entrusting Wel|ington with your insurance needs. For your coni.tenient:el
Wel|ington offers an online option to view policy documents, make payments or establish a
recurring payment planl Hle claims and request policy changes Visit us at
www.We|linqton|nsGroup.cothyWe||inqton to get started

Enolosed please find documents relating to your new insurance policy, including your
Dec|aration`s Page, Policy and any Endorsements. Please take this opportunity to review your
coverage and rotated documents Any questions concerning these documents or requests to
change the stated coverage should be promptly directed to your Agent

Aqent Phone:(BSGJGST-SBBU
SANCRE Z DN`lSU'RANC.B AGENCY
2538 Pecan Blvd

Mcallen, TX 73501

We appreciate the opportunity to be of service

NB0001

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 20 of 65

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Texas Department of insurance

Property& Casuatty Program - Personal Lines Division, Nlail Code ‘iO4»1A
333 Guadalupe * P, O. Bo)r 149104, Austin, Texas ?8714-9104

512-322~2266 telephone - 512-490-1015 tex - www.tdi.state.bt us

USE OF CRED|T lNFORMAT|ON DISCLOSURE

 

insurers Name gamma_¢~_mc_i_m hr T ne rn
Address esm cALMoNT AvE
FORT 'ii\irJRTi-tL Tx re116

Te|ephone Number (toll free itavailabie) 1-sooaso-oar4

 

We |§will [:| will not (choose one) obtain and use credit information on you or any other member(s)
ot your household as a part of the insurance credit scoring process

|f you have any questions regarding this disclosure contact the insurer at the above address or phone
number. For information or other questionsI contact the Texas Department of insurance at 1-800-
252-3439 or P.O. Box 149091, MC 104*‘1A, Austin, Texas 78714.

 

 

 

Section 559.053 of the Texas insurance Code requires an insurer or its agents to disclose to its
customers whether credit infonnatlorr will be obtained on the applicant or insured or on any other
member(s) of the applicants or insureds household and used as part of the insurance credit scoring
process

if credit information is obtained or used on the applicant or insured, or on any member ot the applicants
or insureds householdl the insurer shall disclose to the applicant the name of each person on whom
credit information was obtained or used and how each persons credit information was used to unden»/n'te
or rate the policy. An insurer may provide this information with this disclosure or in a separate notice

Adverse eli'ect means an action taken by an insurer in connection with the undenivn'ting of insurance fora
consumer that results in the denial of coverage the cancellation or nonrenewal ot coverage or the offer
to and acceptance by a consumer of a policy tonn, premium rate, or deductible other than the policy forrn,
premium rate, or deductible for which the consumer speciticaiiy applied

Credit information is any credit related information derived from a credit report itself, or provided in an
application for personal insurance `i'he term does not include information that is not credit-related
regardless of whether the infonnatlon is contained in a credit report or in an application for insurance
coverage or is used to compute a credit score

Credit score or insurance score is a number or a rating derived from a mathematical forrnuia, computer
application model, or other process that is based on credit information and used to predict the hrture
insurance loss exposure of a consumer.

SUMMAR¥ OF CONSUMER PROTECTIONS CONTAINED lN CHAPTER 559

PROH|B|TED USE OF CRED|T lNFORMATlON. An insurer may not:
{“l) use a credit score that is computed using factors that constitute unfair discrimination;

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 21 of 65

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(2) denyI cancel, or nonrenew a policy of personal insurance solely on the basis of credit information
without consideration of any other applicable underwriting factor independent of credit information; or
(3) take an action that results in an adverse enact against a consumer because the consumer does not
have a credit card account without consideration of any other applicable factor independent of credit
infonnation.

An insurer may not consider an absence of credit information or an inability to determine credit information
for an applicant for insurance coverage or insured as a factor in underwn`ting or rating an insurance policy
unless the insurer

(“l} has statistical, actuarial, or reasonable underwriting information that: (A) is reasonably related to
actual or anticipated loss experience and (B) shows that the absence of credit information could result
in actual or anticipated loss dilferences,'

(2) treats the consumer as if the applicant for insurance coverage or insured had neutral credit
infon'nation, as delined by the insurer; or

(3) excludes the use of credit information as a factor in underwriting and uses only other underwriting
criteria.

NEGAT|VE FACTORS. An insurer may not use any of the following as a negative factor in any credit
scoring methodology or in reviewing credit information to undenrvn'te or rate a policy of personal
lNSUfanCB-' (l) a credit inquiry that is not initiated by the consumer;
(2) an inquiry relating to insurance coverage if so identified on a consumers credit
report,‘ or
(3) a collection account with a medical industry code if so identitied on the consumers
credit report

Multiple lender inquiries made within 30 days of a prior inquiry, if coded by the consumer reporting
agency on the consumers credit report as from the home mortgage or motor vehicle lending industry
shall be considered by an insurer as only one inquiry

EFFECT OF EXTRAORD|NARY EVENTS. An insurer shall, on Written request from an applicant for
insurance coverage or an insured, provide reasonable exceptions to the insurers rates, rating
classifications or underwriting niles for a consumer whose credit information has been directly influenced
by a catastrophic illness or injury, by the death of a spouse child, or parent, by temporary loss of
employment by divorce or by identity theft in such a case the insurer may consider only credit
information not affected by the event or shall assign a neutral credit score

An insurer may require reasonable written and independently verifiable documentation of the event and
the effect of the event on the persons credit before granting an exception An insurer is not required to
consider repeated events or events the insurer reconsidered previously as an extraordinary event

An insurer may also consider granting an exception to an applicant for insurance coverage or an
insured for an extraordinary event not listed in this section An insurer ls not out of compliance with any
law or rule relating to underwn'ting, rating, or rate filing as a result of granting an exception under this
article

NOT|CE OF ACTION RESULT|NG lN ADVERSE EFFECT. if an insurer takes an action resulting in
an adverse effect with respect to an applicant for insurance coverage or insured based in whole or in
part on information contained in a credit report the insurer must provide to the applicant or insured within
30 days certain information regarding how an applicant or insured may verity and dispute information
contained in a credit report

DlSPUTE RESOLUT|ON; ERROR CORRECT|ON. if it is determined through the dispute resolution
process established under Section 61l(a}(5), Far`r Credit Reporting Act( t 5 U.S.C. Section tb`8“li), as

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Case 7:17-cv-00107 Document1-2 Filed in TXSD on 03/29/17 Page 22 of 65

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amended, that the credit information of a current insured was inaccurate or incomplete or could not be
verified and the insurer receives notice of that determination from the consumer reporting agency or from
the insured, the insurer shall re-underwrite and re-rate the insured not later than the 30”’ day after the
date of receipt of the notice.

After reundenrvriting or re-rating the insured, the insurer shall make any adjustments necessary within 30
days, consistent with the insurers underwriting and rating guidelines if an insurer determines that the
insured has overpaid premium, the insurer shall credit the amount of overpayment The insurer shall
compute the overpayment back to the shorter of the last 12 months ot coverage,' or the actual policy
period.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 23 of 65

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CONSUI\»[ER BILL OF RIGH'I`S

Homeowners, Dwelling and Renters lnsu ran ce

AVISO: Este documento es un rcsumen de sus dercchos como asegurado. Usted done cl
derecho a llamar a su compania y pcdir una copia de estes derechos en cspahol.

What is the Bill of Rights?

This Bill of Rights is a summary of your rights and does not become a pan of your
policy. The Texas Department of lnsurance (TDI) adopted the Bill of Rjghts and requires
insurance companies to provide you a copy when they issue your policy

Tcxas law gives you certain rights regarding your homeowners, dwelling and reuters
insurance This Bill of Rights identifies your rights specified by rule or by stale statute,
but it does not include all of your rights Also, some exceptions to the rights are not
listed here. Legislatlve or regulatory chanch to statutes or rules may affect your rights as
an insuredl lf your agent, company, or adjuster tells you that one of these rights does not
apply to you, contact TDI's Consumer Protection Progra.m at 1-800-252-3439 (512-463-
6515 in Austin), by mail at Majl Code lll-lA, P.O. Box 149091, Austln, TX 78714»
9091, or by email at ConsumerProteclion@tdi.stale.tx.us. For a list of the specific law(s]
andlor rule(s) summarized in each item of this Bill of Rights, or if you have questions or
comments contact the Oft'lce of Public lnsurance Counsel (OPIC) toll free at 1-8?7-611-
6742, by mail at 333 Guada.|upc, Suite 3-120, Austin, 'I`X 78?01, or visit the OPIC
website at www.opic.state.tx.us.

This Bill of Rjghts does not address your responsibilities Your responsibilities
concerning your insurance can be found in your policy Failurc to meet your obligations
may aH`ect your rights

Getting information from the Department of lnsurance
and your insurance company

1. INFO.RAIAT!ON FROM TDI. You have the right to call TDI free of charge at 1-

800-252~3439 or 512-463-65| 5 in Austin to learn more about

yo ur rights as an insurance consumer,

the license status of an insurance company or agenr;

the financial condition of an insurance company;

the complaint ratio and type of consumer complaints tl|ed against an insurance

company;

l usc of credit information by insurance companies, including which insurance
companies use it and access to each company's credit scoring model;

¢ an insurance company’s rates filed with the state;

¢ an insurance company's underwriting guidelines (subject to exemptions in the
Public Informacion Act, also known as the Opcn Records Act};

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 24 of 65

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l the Texas FAJR Plan, designed to help consumers who have been denied coverage
by at least two insurance companies; and
¢ other consumer wncerns.

You can also find some of this information on the 'I`DI website at www.tdi_texas.gov.

At www.helpinsure.com, Texans can find more detailed information on their current and
prospective insurers. TDI, in conjunction with OPIC, maintains this website to help
Texans shop for residential property insurance and personal automobile insurance For
companies writing in Texas that are in the top 25 company groups nationally, the site also
includes:

a list of insurers by county and/or ZIP code;

detailed contact information for each insurer;

sample rates and a brief history of increases auditor decreases in the rates;

policy form comparisons;

a list of policy forms, exclusions, endorsements, and discounts offered by each
insurer; and

¢ nonconfidential disciplinary actions against each insurer.

2. INFORMA TION FROM YOUR INSURANCE COMPANY. You have the right to a
toll-free number to call your insurance company free ot` charge with questions or
complaints You can find this number on a notice accompanying your policy, This
requirement does not apply to small insurance companies

What you should know before you buy insurance

3. PROHIBITED STA TEMENTZS'. Your insurance company or agent is prohibited
from making fal se, misleading, or deceptive statements to you relating to insurance

4. LENDER»REQUIRED INSURANCE. A lender cannot require you to purchase
insurance on your property in an amount that exceeds the replacement cost of the
dwelling and its contents as a condition of financing a residential mortgage or providing
other financing arrangements for the property, regardless of the amount of the mortgage
or other financing arrangements In determining the replacement cost of the dwelling, a
lender cannot include the fair market value of the land on which a dwelling is located

5. CREDIT INFORAM TION An insurance company cannot deny you insurance solely
on the basis of credit information lnsurers radio use credit information must also
consider other underwriting factors independent of credit information when deciding
whether to offer coverage (For additional information see the section of this Bill of
Rjghts titled Whar you should know about insurance companies’ use of credit
r`rrformatr'on_)

6. APPLIANCE-RELA TED WATER DAMAGE CLA!MS. An insurance company
cannot deny you insurance or increase your premium based on a prior appliance-related
water damage claim if

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 25 of 65

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¢ the damage has been properly repaired or remediated; and
¢ the repair or remediation vvas inspected and certified

NOTE: A company can use an appliance-related water damage claim if you file three or
more such claims in a 3-year period and the company has paid the claims A claim
includes a claim filed by you or a claim tried on your property.

7. WATER CLAIMS/MOLD DAJIAGE OR CTAIMS_ An insurance company cannot
deny you insurance based solely on a single prior water damage claim. An insurance
company also cannot deny you insurance because of prior mold damage or a prior mold
claim if:

¢ the damage or claim was properly repaired or remediated; and

0 the repair or remediation was inspected and certified

NOTE: A claim includes a claim filed by you or a claim filed on your property

8. PROPERTY CONDIHON. Voluntary lnspection Prog'rarn; You have the right to
have an independent inspection of your property by any person authorized by the
Comrnissioner of lnsurance to perform inspections Once the inspector determines that
your property meets certain minimum requirements and issues you an inspection
certificate, no insurer may deny coverage based on property conditions without
reinspecting your property If an insurer then denies coverage, the insurer must identify,
in writing, the specific problem(s) that makes your property uninsurable. You can find a
list of available inspectors on the TDI website at
www.tdi.texa.s,gov)'company!vipagnt.html or you can contact TDI for the list directly at 1-
800-252-3439.

9. SAFETY NET_ You may have the right to buy basic homeowners insurance through
the Texas Fair Access to lnsurance Requirements Plan, also known as the Texas FALR
Plan, if you have been denied coverage by two insurance companies Your property must
meet certain requirements, and eligibility for FA]R Plan coverage must be re-established
every two years. You can access a list of insurance agents who are authorized to sell this
coverage on the Texas FAIR P]an Association website at wnnv.texasfairplan.org or by
earning 1-300-979-6440 (512-505-2200 in Austin).

10. WINDSTORM COVEMGE. For property located in areas designated by the
Corrunissioner in certain counties on or near the coast, you may have the right to buy
windstorm and hail coverage from the Texas Windstorm lnsurance Association (TWIA),
if you have been denied windstorm coverage by one insurance company in the standard
market currently providing windstorm coverage Your property must meet certain
requirements, and eligibility for TWLA coverage must be re-established every three years
You may have to re-establish eligibility sooner than every three years if you have made
any repairs or alterations to your horne Wind.storrn coverage through TWIA is limited to
a maximum amount set each year by the Commissioner of lnsurance This right applies
whether or not you buy other insurance for your house In all other counties your
homeowners or dwelling policy includes windstorm and hail coverage unless you request

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 26 of 65

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that this coverage be removed from your policyl

NOTE: lt` you live in a certain flood zone (Zone V, Zone VE and Zone Vl -l 30) and your
dwelling was constructed, altered, remodeled, or enlarged after September 1, 2009, you
must purchase flood insurance through the National Flood insurance Progra.rn (NFIP) in
order to be eligible to purchase windstonn coverage through TWIA. However, if N'F[P
does not provide flood insurance in your area1 you are not required to purchase it.

11, ELECTRUNIC PA H{ENTS. lt` you authorize your insurer to withdraw your
premium payments directly from your financial institution, including your escrow
account your insurer cannot increase the amount withdrawn unless:
0 the insurer notifies you by U.S. mail of the increase in premium at least 30 days
prior to its eitective date; and
l you do not notify the insurer that you object to the increase in the amount to be
withdrawn at least five days prior to the increase
The notice provided by the insurer must include a toll-free number, a mailing address and
an entail address (if applicable), through which you can contact the insurer to object to
the increase

NOTE: This does not apply to premium increases specifically scheduled in the original
policy, to increases based on policy changes you request, or to an increase that is less
than $10 or 10 percent cf thc previous month’s payment

12. NOTICE OF REDUCED COVEMGE. It` an insurer uses an endorsement to
reduce the mount of coverage provided by your policy, the insurer must give you a
written explanation of the change made by the endorsement The insurer must provide
the explanation not later than the 30th day before the effective date of the new or renewal
policy. An insurance company cannot reduce coverage during the policy period unless
you request the change lt` you request the change, the company is not required to
provide notice

13. NO'HCE OF PREM!UM .INCREASE. If your insurer intends to increase your
premium by 10 percent or more upon renewal, the insurer must send you notice of the
rate increase at least 30 days before your renewal date.

14. EXPLANATION OF DENIAL Upon request, you have the right to be told in
writing why you have been denied coverage The written statement must fully explain
the decision, including the precise incidents, circumstances1 or risk factors that
disqualified you. It must also state the sources of information used

NOTE: The obligation to provide a written explanation applies to insurance companies
directly An independent agent does not have a specific duty to quote the lowest possible
rate to a consumer or to provide a written statement explaining why the agent did not
offer the consumer the lowest possible rate.

15. CUSTOMER INQUIRY. An insurance company cannot use a customer inquiry as a

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 27 of 65

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basis for denying you coverage or determining your premium

NOTE: A customer inquiry includes:
' general questions about your policy',
n questions concerning the company’s claims filing process; and
l questions about whether the policy will cover a loss unless the question concerns
specific damage that has occurred and that results in an investigation or claim.

16. RATE DIFFERENTIAL WITHINA COUNTY. lf an insurer subdivides a county
for the purposes of charging different rates for each subdivision, the difference between
the lowest and the highest rate cannot exceed 15 percent unless actuarially justified

17. R]GHT TO PRIVA CY. You have the right to prevent an insurance company, agent,
adjuster, or financial institution from disclosing your personal financial information to
companies that are not affiliated with the insurance company or financial institution
Sorne examples are income, social security numbcr, credit history, and premium payment
Mmow.

lf you apply for a policy, the insurance company or financial institution must notify you
if it intends to share financial information about you and give you at least 30 days to
refuse This refusal is called “opting out." If you buy a policy, the insurance company or
financial institution must tell you what information it collects about you and whether it
intends to share any of the information and give you at least 30 days to opt out. Agents
and adjusters who intend to share your information with anyone other than the insurance
company or financial institution must give you similar notices

You can opt out at any time Your decision to opt out remains in effect unless you
revoke it,

These protections do not apply to information:
¢ publicly available elsewhere; _
l insurance companies or financial insulations are required by law to di sclose', or
» insurance companies or financial institutions must share in order to conduct
ordinary business activities

What you should know about cancellation and nonrenewal

Cancellatjon means that before the end of the policy period the insurance company:
¢ terminates the policy;
v reduces or restricts coverage under the policy; or
0 refuses to provide additional coverage to which you are entitled under the policy

Refusal to renew and nonrenewal mean the policy terminates at the end of the policy
period

 

The policy period is shown on the declarations page at the front of your policy.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 28 of 65

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18. LIMITA TION ON CANCELLATION FOR. HOMEOHWERS A.ND RENTERS
POLICIES. After your initial homeowners or reuters policy with your company has
been in effect for 60 days or more, that insurance company cannot cancel your policy
unless:
¢ you don’t pay your premium when due',
- you tile a fraudulent claim;
¢ there is an increase in the hazard covered by the policy that is within your control
and results in an increase in the premium rate ofyour policy; or
¢ TDI determines continuation of the policy would result in violation of insurance
laws.

If your policy has been in effect for less than 60 days, your insurance company cannot
cancel your policy unless:
¢ one of the reasons listed above applies;
¢ the insurance company identities a condition that:
¢ creates an increase in hazard;
- was not disclosed on your application; and
¢ is not the subject of aprior claim; or
0 the insurance company rejects a required inspection report within 10 days after
receiving the report The report must be completed by a licensed or authorized
inspector and cannot be more than 90 days old.

19. LIMITA TION ON CANCELLA TIQN FOR DWELLING POLICIES. Al°ter your
initial dwelling policy with your company has been in effect for 90 days, that insurance
company cannot cancel your policy unless:
l you don’t pay your premium when due;
0 you file a fraudulent claim;
l there is an increase in the hazard covered by the policy that is within your control
and results in an increase in the premium rate of your poli cy; or
¢ TDI determines connnuation of the policy would result in violation of insurance
laws

20. NOTICE OF CANCELLATION To cancel your policy, your insurance company
must mail notice at least 10 days prior to the effective date of the cancellation Your
policy may provide for even greater notice.

21. FOLICYHOLDER’S RIGHT TO CANCEL. You have the right to cancel your
policy at any time and receive a refund of the remaining premium

22. CHdNGE IN MRITAL STATUS. lf your marital status changes, you have the
right to continue your insurance coverage You have a right to a new policy in your name
with coverages that most nearly approximate the coverages of your prior policy,
including the same expiration date. The insurance company cannot date the new policy
so that a gap in coverage occurs.

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 29 of 65

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23. U.S'E OF CLAIMS HISTORY TO NONRENEW OR DETERMINE RENEWAL
PREMIUM. Your insurance company cannot use claims you filed as a basis to
non renew your policy unless:
0 you file three or more claims in any 3-year period; and
0 your insurer notified you in writing after the second claim that filing a third claim
could result in nonrenewal of your policy.

Your insurance company cannot use the following types of claims to determine the
number of claims you have filed or to determine your premium if your policy is renewed:
- claims for damage from natural cans es, including weather-related damage;
¢ appliance-related water damage claims where the repairs have been inspected and
certifi ed; or
¢ claims filed but not paid or payable under the policy.

NOTE: An insurance company can count appliance-related claims if three or more such
claims are filed and paid within a 3-year period.

24. USE OF CREDIT INFORMATION TO NONRENEW An insurance company
cannot refuse to renew your policy solely on the basis of credit information Insurers
who use credit information must also consider other underwriting factors independent of
credit information when deciding whether to renew coverage (For additional
information see the section of this Bill of Rights titled W?rar you should know occur
insurance companier’ use of credit information.)

25. NOTICE OF CHANGE IN POLICY FORM. Your insurer must notify you in
writing of any difference between your current policy and each policy offered to you
when the policy renews. ln certain instances your insurance company must also provide
a comparison between the policy offered and policies adopted by the Commissioner of
lnsurance

26. NOTICE OF NONRENEWAL. If the insurance company does not mail you notice
of nonrenewal at least 30 days before your policy expires you have the right to require
the insurance company to renew your policy.

27. EXPLANA TION OF CANCELLA TION OR NONRENEWAL. Upon rcquest, you
have the right to a written explanation of an insurance company's decision to cancel or
nonrenew your policy. The written statement must fully explain the decision, including
the precise incidents, circumstances, or risk factors that disqualified you lt must also
state the sources cf information used

What you should know when you file a claim

28. FAIR TREA TMENT. You have the right to be treated fairly and honestly when you
make a claim. If you believe an insurance company has treated you unfairly, call TDI at
1-300-252-3439 (512-463-6515 in Austin) or download a complaint form from the TDI
website at www.tdi.texas.gov. You can complete a complaint form on-line via the

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 30 of 65

C-UT?2-1?-E

intemet or fax a completed form to TDI at 512-475-1771.

29. SETTLEMENT OFFER You have the right to reject any settlement arnount,
including any unfair valuation, offered by the insurance companyv If you reject a
settlement offer, your options include continuing to negotiate with the insurer or pursuing
legal remedies, such as mediation, arbitration, or filing a lawsuit You have the right to
have your home repaired by the repair person of your choi ce.

30. EXPLANA TION OF CLA_IM DEMAI.. Your insurance company must tell you in
writing why your claim or part ofyour claim was denied.

31. TIMEFRA_MES FOR CLAIM PROCESSING AND PA FMENIZ When you tile a
claim on your own policy, you have the right to have your claim processed and paid
promptly lf the insurance company fails to meet required claims processing and
payment deadlines, you have the right to collect 18 percent annual interest and attomey's
fees in addition to your claim amount

Generally, within 15 calendar days, your insurance company must acknowledge receipt
of your claim and request any additional information reasonany related to your claim
Within 15 business days (30 days if the company reasonably Suspects arson] after receipt
of all requested information, the company must approve or deny your claim in writing
The law allows the insurance company to extend this deadline up to 45 days if it notifies
you that more time is needed and tells you why.

After notifying you that your claim is approved, your insurance company must pay the
claim within five business days.

If your claim results from a weather-related catastrophe or other major natural disaster as
defined by TDI, these claims handling deadlines are extended for an additional 15 days

32. RELEASE OF CLAIM FUNDS. Often an insurance company will make a claim
check payable to you and your mortgage company or other lender and will send it to the
lender. ln that case, the lender must notify you within 10 days of receipt of the check and
tell you what you must do to get the funds released to you.

Once you request the funds 1l"rom the lender, within 10 days the lender must:
\ release the money to you; or
¢ tell you in specific detail what you must do to get the money released

If the lender does not provide the notices mentioned above or pay the money to you after
all requirements have been met, the lender must pay you interest on the money at 10
percent per year from the time the payment or the notices were due.

33. NOTICE OF LIABILITY CLA.IM SETTLEMENT. Your insurance company must
notify you if it intends to pay a liability claim against your policy. The company must
notify you in writing of an initial offer to compromise or settle a claim against you no

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 31 of 65

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later than the lOt]'i day after the date the of'fer is made The company must notify you in
writing of any settlement of a claim against you no later than the 30th day after the date
of the settlement

34. INFORMA TION NOT REQUIRED FOR CLAIM PROCESSING. You have the
right to refuse to provide your insurance company with information that does not relate to
your claim. In addition, you may refuse to provide your federal income tax records
unless your insurer gets a court order or your claim involves lost income or a fire loss.

Wliat you should know about prohibited discrimination

35 PROTECTED CLASSES. An insurance company cannot discriminate against you
by refusing to insure you; limiting the amount, extent or kind of coverage available to
you; charging you a different rate for the same coverage', or refusing to renew your
policy:
1 because of race, color, religion, gender, marital status, disability or partial
disability, or national origin; or
¢ unless justified by actual or anticipated loss experience, because of age or
geographic location

36. AGE OF HQUSE. An insurance company cannot refuse to insure your property
based on the age of your house l-Iowever, an insurance company may refuse to sell you
insurance coverage based on the condition of your property, including the condition of
your plumbing, heating, air conditioning, wiring, and roof

37. VALUE GF PROPERTK An insurance company cannot refuse to insure your
property because the value is too low or because the company has established minimum
coverage amounts

38. LWDERWRITING GMDELINES. Underwriting guidelines may not be unfairly
discriminatory and must be based on sound actuarial principles

39. EQUAL TREATMENT. Unless based on sound actuarial principles, an insurance
company may not treat you differently from other individuals of the same class and
essentially the same hazard lf`you sustain economic damages as a result of such unfair
discrimination, you have the right to sue that insurance company in rl`ravis County
Dtstn'choui-t;

If your suit prevails, you may recover economic damages, court costs and attorney and
necessary expert witness fees. If the court finds the insurance company knowingly
violated your ri ghts, it may award up to an additional 325,000 per claimant

You must bring the suit on or before the second anniversary of the date you were denied
insurance or the unfair act occurred or the date you reasonably should have discovered
the occurrence of the unfair act lf tire court determines your suit was groundless and you
brought the lawsuit in bad faith, or brought it for the purposes of harassment you will be

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 32 of 65

C-BT??-‘i 7-E

required to pay the insurance company`s court costs and attorney fees.

'What you should know about insurance companies’
use of credit information

40. REQUIRED DISCLOSURE. lf an insurance company uses credit information to
make underwriting or rating decisions, the company must provide you a disclosure
statement within 10 days after receiving your completed application for insurance

The disclosure indicates whether the insurer will obtain and use your credit information
and lists your specific legal ri ghts, including

¢ credit information insurance companies cannot use against you;

- how you can get reasonable exceptions that your insurer is required to make to its
use of credit information if certain life events, such as divorce, death of a close
family membcr, or identity theft, hurt your credit;

¢ the notice* an insurer must send you when making a credit-based decision that
harms your ability to get or keep insurance or requires you to pay a higher
premium; and

o how you can dispute credit information and require an insurer to re-rate your
policy if the rate was increased because of inaccurate or unveritiable credit
information

* The notice must include a description of up to four primary factors that influenced the
action taken by the insurer.

[nsurers must use the disclosure form (CD-l) adopted by the Cornmissioner or an
equivalent disclosure form filed prior to use with TDI. The CD-l is available at
www.tdi.tcxas_gov!formsfpcpersonalfpc328crdtds.pdf or by calling 1-800-252-3439.
Additional information regarding insurers’ use of credit information is available at
www. tdi.texas. gov)'creditfcredit,htrnl.

What you should lmow about enforcing your rights

41. FILING CDMPLAINTS. You have the light to complain to TDI about any
insurance company and!or insurance matter and to receive a prompt investigation and
response to your complaint To do so, you should:
¢ call 'I`DI’s Consumer He}p L£ne at l-800-252-3439, (512-463-6515 in Austin) for
service in both English and Spanish;
¢ write to the Texas Department of Insurance, Consu.rner Protection, Mail Code
111-l A, P.O_ Box 149091, Austin, Texas 78714-9091;
email TDI at ConsumerProtection@tdi.state.tx.us;
fax your complaint to 512-4?5-1771;
download or complete a complaint form online from the TDI website at
unvw.tdi.texas. gov; or

10

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 33 of 65

C-D?TZ-‘l ?'-E

¢ call the TDI Publications.»'Complaint Form order line at 1-800-5 99-SHOP (7467),
(512-305-7211 in Austin). The order line is available 24 hours a day, 7 days a
week.

NOTE; TDI offers interpreter services and publications in alternate formats. Persons
needing more information in alternate Iayouts or languages can call the TD[ Consumer
He!p Lr'ne listed above.

42. RIGHT TO SUE. If an insurance company violates your riglits, you may be able to
sue that company in court, including small claims court, with or without an attomey.

43. BURDEN OF PROOF. If you sue to recover under your insurance policy, the
insurance company has the burden of proof as to any application of an exclusion in the
policy and any exception to or other avoidance of coverage claimed by the insurer

44. REQUESTING NEWRULES. You have the right to ask in writing that TDI make
or change rules on any residential property insurance issue that concerns you. Send your
written request to: Texa.s Departrnent of insurance Attn: Commissioner (IIS-ZA), P.O.
Box 149104, Austin, TX 73?14-9104.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 34 of 65

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PR|VACY NOT|CE

Palomar Specia|ty insurance Company pledges to treat the information of our policyholders and other
consumers responsibly. We value you as a customer and respect your right to privacyl and we recognize
that you purchase our products and services because you trust that we will stand behind our promises.
We never sell your personal information, and we do not share it with non-affiliated third parties for
marketing purposes

THE lNFORMAT|ON WE COLLECT
We may collect personal information about you from the following sources:
o applications and other forms
- our research to verify a claim
~ your transactions and experiences with us and others
¢ consumer reporting agencies, medical providers, and others.
Personal information may include but is not limited to your name, Social Security number. date of birth,
driver's license number. medical information, credit or debit card numbersl or bank account number.

THE lNFORMAT|ON WE DlSCLOSE
We safeguard information about our policyholders, former policyholders and other consumers, and we
disclose it only as permitted or required by law. We use the information we collect to process and service
your policy and resolve claims. We may disclose it to persons or organizations as necessary to perform
transactions that you request or authorize For example. we may exchange information about you with
our agents. investigators appraisersl attorneys and other people involved in processing your application
and servicing your policy or claims. Specifrcally, we may disclose the following to entities that perform
administrative services on our behalf or as required or permitted by law for legal and regulatory purposes:
- |nfom'ration we receive from you on applications or other forms, such as your name,
addressl beneficiaries Social Security number, family member information, assets,
income, and property locations and values
o |nfomiation regarding your transactions with us or others. such as your account balance,
policy coverage, payment history, the premium you pay, and claims information
. lnfon'nation we receive from consumer reporting agencies and other sources, such as
your creditworthiness and medical and employment infon'nation.

We may also share your information for other permitted purposes, including;

» communicating with another insurance company in the event of a claim

» complying with requests from federa|, state or other govemmenta|. regulatory, or law
enforcement agencies if required by law

» helping insurance-support organizations detect and prevent fraud
with state insurance departments or other governmental or law enforcement authorities if
required by law to protect our legal interests or in cases of suspected fraud or illegal
activities; or

~ if ordered by a subpoena, search warrantl or other court order.

CONFlDENT|ALlTY AND SECURITY

We maintain physicall electronic and procedural safeguards to ensure that your personal information is
treated responsibly and in accordance with our privacy policy and applicable data security regutations.
We restrict access to that information within our organization to employees who need to know it to provide
products and services to you or to conduct Palomar Specialty lnsurance Company business Employees
who have access to your personal information may use it only for legitimate business purposes

YOU DO NOT NEED TO DO ANY`TH|NG |N RESPONSE TO THlS NOT|CE
TH|S NOT|CE lS MERELY TO |NFORM YOU ABOUT OUR
PRIVACY POL|C|ES AND PRAC'T`|CES

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 35 of 65

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Weilington Risk insurance Agency, inc.

e l n g 0 n P.O. sex 230 - r=crt Worth, Tx 76101
617_732-2111 - eoo-eedo4?4

R l S K www.Weiiington|nsGrcup.com

NOT|CE OF WELL|NGTON’§ PRIVACY POL|C|ES AND PRACT|Q§

We|lington’s Commitment To Privacy

Weilington Risk insurance Agency, inc. (“Weilington“) is a properly licensed “managing general
agent" that processed your residential property insurance policy(ies) on behalf of another
insurance company Weiiington values this customer relationship and is committed to
protecting the confidentiality of your nonpublic personal information This Notice informs you of
Weliington's privacy policies and practices

Collecting information
Weiiington collects nonpublic personal information ("NF’I”) about you from the following scurces:

o information we receive from you on applications or other forms, over the telephone,
through the maill and from your browser when you and!or your agent visit our website
(inciuding but not limited to: namel address property description, date of birth, social
security numberl drivers license number, phone number, e-maii addressl employment
status);

o lnfonnation we obtain from your transactions with us, our affiliates or others (inciuding
but not limited to: policy coverages, premiums, payment history, loss andror claim
history);

o information we receive from consumer reports (inciuding but not limited to: income and
asset information, credit history); and

o information we receive from third parties, such as empioyers, insurance agents or other
insurance companies that provide(d) you financial products or services (inciuding but not
limited to: motor vehicle reports, claim reportsl demographic data, medical information
and!or history).

Sharing information

Weliington may share all of the collected NP| as permitted by law with its affiliates and the
insurance company that issued your residential insurance poiicy(ies)-and to the extent you
seek or are receiving a multiple-line insurance discount1 with your automobile insurance
carrier-in order to process your application or claim, administer your accountl provide you with
a service, or administer our business (including detection of fraud). We|iington's affiliates
inciude: Wei|ing'tcn Adjusting Service, |nc.; Wellingtcn Claim Service, |nc.; Wel|ington
insurance Company, lnc.; Weliington insurance Services, |nc.; and We|iington Premium
Finance, inc.

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Page1 of2 12!2011

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 36 of 65

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Shar'ing |nformation...continued

lt may be necessary for Weiiington to seek placement of your residential property insurance
policy(ies) with one or more different insurance companies in order to offer continual
residential property insurance coverage through new insurance companies without interruption
to youl Wei|ington may share all of the collected NP| as permitted by law with non»afi‘r'liated
insurance companies if you prefer that Weliington not disclose NPI for this purpose, you may
opt-out at any time by calling Wei|ington toll-free at 800380-0474. Weiiington will presume
your agreement to this disclosure unless you coil within thirty (30) days from the date this
Notice was mailed.

Safeguarding information

Except as otherwise described in this Notice, We|lington restricts access to the collected NP| to
Weiiington‘s employees and the employees of amiiates who need to know that information to
provide products or services to you. We|iington maintains physical, electronicl and procedural
safeguards that comply with federal regulations to guard your NP|.

Wellington will retain your information at the end of the customer relationship for a period of time
for internal processing andror information purposes, and as required by iaw. However,
Weiiington maintains the same standard of privacy for fortner customers as for current
customers

WR|PR|
Page 2 of 2 mann

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 37 of 65

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Texas
Dwelling
lnsurance Policy

Palomar Specialty lnsurance Compzmy
888 Prospect St. Ste 105
La Jolia, CA 92037

 

TIIIS POLICY JACKET WTT`H 'ITU HOMEOWNERS POI..ICY FORlV.L, DECLARAHONS PAGE AND ENDORSEMENTS, [F ANY, ISSUED T()
i-`ORM A PAR'l` `I`i-LEREOF, COMPI,ETE 'I'HIS POL]CY

 

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 38 of 65

iMPORTANT NOT|CE

To obtain information or make a complaint

You may contact your ivianaging Genera| Agent
at 1-800-880-0474.

You may coil the Palomar Specia|ty
insurance Company’s toii-free telephone
number for information or to make a complaint
at:

1 -844-560-7401

You may contact the Texas Department of
insurance to obtain information on companies
coverag es, rights or complaints at:

1 -800-252-3439

You may write the Texas Department of
|nsurance:

P.O. Box149104

Ausi.in, TX 78?14~9104

i'-'ax: (512) 475-1?71

Web: http:f)'www.tdi.texas.gov

Emai|: ConsumerProtection@tdi.texas.gov

To obtain price and policy form comparisons
and other information relating to residential
property insurance and personal automobile
insurance you may visit the Texas
Department of |nsurancei Office of Pubiic
insurance Counse| website;

www.helpinsure.com

PREMIUM OR CLAIM DiSPUTES:

Shouid you have a dispute concerning your
premium or about a claim you should contact
the Managing Generai Agent first if the dispute
is not resolved, you may contact the Texas
Department of insurance

ATTACH TH|S NOT|CE TO YOUR POL]CY:
This notice is for information only and does not
become a part or condition of the attached
document

nor-019 non-ij

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AVISO |MPORTANTE

Para obtener informacion o para someter una -
queja:

Puede comuniErse con su Agente Generai al
1-800-880-0474.

Usted puede i|amar ai numero de teiefono
gratis de Palomar- Specia|ty insurance
Companys para inforrnacion o para someter
una queja a|:

1 -844~56 0-7401

Puede comunicarse con el Departamento de
Seguros de Texas para obtener informacion
acerca de companias, ooberturas, derechos o
quejas a|:

1 -800-252-3439

Puede escribir al Departmento de Seguros de
Texas:

P.O. Box149104

Austin, TX 78714-9104

Fax: (512) 475-1771

Web: http:i'f'»wvw.tdi.texas.gov

Emai|: ConsumerProtectiorr@tdi.texas.gov

Para obtener formas de comparacion de
precios y poiiza y otra informacion acerca del
seguro de propiedad residencia| y del seguro `
de automovii, visite el sitio web del
Departamento de Seguros de Texas y la
Oficina del Asesor Pubiico de Seguros;

www.helpinsure.com

DiSPUYAS SOBRE PRIMAS _0 RECLAMOS:
Si tiene una dispute concemiente a su prima o
a un reclemo. debe comunicarse con el Agente
General primero. Si no se resueive ia disputa,
puede entonces comunicarse con ai
Departmento de Seguros de Te)<as.

UNA ESTE AV|SO A SU POL|ZA:
Este aviso es solo para proposilo de
inforrnacion y no se convierte en parte o
condicion del documento adjunto.

02/22/2015

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 39 of 65

 

 

 

 

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QU|CK REFERENCE
TEXAS DWELLING POLJC¥ - FORM ‘i
insuring Agreement .................................... 2 Sa|vage Rights ........................................... 6
Appraisa| ..................................................... 6
Deiinitions ................................................... 2 Other insurance .......................................... 7
Loss Payment ............................................. 7
Coverage A Catastrophe Claims ..................................... 7
Dwei|ing .................................................... 2 Suit Against Us ............................................ 7
Other Structures ....................................... 2 Su brogalion ................................................ 7
Coverage B Abandonment of Property.....,.................,..,_?
Personal Property ..................................... 2 No Eienefit to Baiiee ..................................... ?
Persona| Property Otf Premises 2 Vacancy - Suspension of Coverage ......... 7
Property Not Covered ................................. 2 Liberalization ............................................... 7
Extensions of Coverage Waiver or Change of Policy Provisions ........ 7
Debris Remova| ........................................ 3 li)'lortgage C|ause ......................................... 7
improvements Ailerations and Additions... 3 Cancel|ation ................................................ 8
Reasonable Repairs ................................. 3 Refusa| to Renew ........................................ 8
Property Removed .................................... 3 Assignmenl ................................................. 9
Consequentia| Loss .................................. 3 Death .......................................................... 9
Pen'is insured Against ................................. 3
Generai Exciusions ..................................... 4
Deductibie .................................................. 5 YOUR DUTIES AFTER A LOSS
COndiinnS 1. Protect the property from further damage
PDliCY PEiiCid ............................................. 5 2_ G'Ne prompt written notice 10 the Compal]y_
insurable interest and Limit of Liabiiity.,..... 5 3_ gall the police ll a law has been broken
Conceairnent and Fraud ............................ 5 4_ Mal¢e a list of all damaged personal pmpellyl
Residential Community Property ............... 5 including ocsla
Duiie$ AHEI' LOSS -------------------------------------- 5 5. if requested, obtain proof of loss form from your
YOUI’ Dllii€$ Afler LOSS ------------------------ 5 agent or the company and submit within 91 days of
Our Duties After Loss .............................. 5 the requegt_
Loss Settlement ........................................ 6

Prescn'bed by the Texas Department of insurance
Texas Dwe||ing Policy Form 1 - Effective January 1, 2002
1 DFFOrm 1-1

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 40 of 65

TEXAS DWELL|NG POLICY - FORM 1

 

AGREEMENT

We will provide the insurance described in this policy in return for the premium and compliance with all

applicable provisions of this policy.

 

DEF|NITIONS

in this policy;

A. '“Y'ou" and r‘your‘1 referto the “named insured“
shown in the declarations and the spouse if a
resident of the same household.

B. We". “us' and ”our' refer to the company
providing this insurance

C. “Business day" means a day other than a
Saturday, Sunday or holiday recognized by the
slate of Texas.

 

COVERAG ES

 

This insurance applies to the described location and
coverages for which a limit of liability is shown.

COVERAGE A {DWELLlNG)

We coverl

‘i. the dwelling on the described location shown in
the declarations used principally for dwelling
purposesl including structures attached to the
dwelling

2. materials and supplies located on or next to the
described location used to construct. alter or
repair the dwelling or other structures on the
described |ocation.

3. if not otherwise covered in this poiicy. building
equipment and outdoor equipment used for the
service of and located on the described
location.

4. maintenance equipmeni. floor coverings,
window shades, refrigerators and stoves that
you own as a landlord, located on the described
location.

5. other structures on the described |ocation, set
apart from the dwelling by clear space. This
includes stn.rclures connected to the dwelling by
only a fence, utility line or similar connection
The total limit of liability for other structures is
10% of the Coverage A (Dweliing) limit of
liability. This is additional insurance and does
not reduce the Coverage A (Dwel|ing) limit of
|iability.

We do not cover other stnictures used for
commercial, manufacturing or farming
purposes

COVERAGE B (PERSONAL PROPERTY)

We cover personal property and business personal
properly owned or used by you or members of your
family residing with you while it is on the described
localion. At your request, we will cover personal

property owned by a guest or residence employee
while the property is on the described location

You may use up to 10% of the Coverage B
(Personal Properiy) limit of liability for loss by a
Peril insured Against to personal property covered
under Coverage B (Personal Property) while
anywhere in the wodd. This coverage does not
apply to business personal property or property of
guests or residence employees This is not
additional insurance and does not increase the
Coverage El (Personal Properly) limit of liability

At your request, you may use up to 10% ofthe
Coverage B (Personal Property) limit of liability for
loss by a Perii insured Against to property of
others while in your custody and located on the
described location This is not additional insurance
and does not increase the Coverage B (Personal
Property) limit of iiabiltty.

Property Not Covered. We do not coven

animals

money, cunency or bullion.

securities, deeds, cr evidences of debt.
records books of records or manuscripts.
motor or engine propelled vehicles or machines
designed for movement on |and, including
attached machinery or equipment

However. we do cover such vehicles which are
not subject to motor vehicle registration and

F".*‘P".N'._‘

are:

a. devices and equipment for assisting tile
handicapped

b. power mowers.

c. golf carts.

d. vehicles or machines used for recreational
purposes while located on the described
location

e. farm equipment not designed for use
principally on public roads.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 41 of 65

6. aircraft, meaning any device used or designed
for flight.
We do cover model or hobby aircraft not used
or designed to carry people or cargo.

7. watercraft, including outboard motors and
furnishings or equipment
We do cover watercraft. including outboard
motors and furnishings or equipmenl, while
located on land on the described location.

EXTENS|ONS OF COVERAGE:

t. Debris Removal. We will pay your expense for
the removal from the described location of:

a. debris of covered property if a Feril
lnsured Against causes the loss.

b. a tree that has damaged covered property if
a Peril lnsured Against causes the tree to
fa|l.

This does not increase the limit of liability that

applies to the damaged property.

2. lmprovements, A|terations and Additions. ll
you are a tenant of the described location, the
Coverage B (Personal Property) limit of liability
applies to a loss caused by a Peril lnsured
Against to improvementsl alterations and
additions made or acquired at your expensel to

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that part of the described location used only by
you.

This is not additional insurance and does not
increase the Coverage B (Personal Property)
limit of liability.

3. Reasonable Repairs. |f a Perii lnsured
Against causes the loss, we will pay the
reasonable cost you incur for necessary repairs
made solely to protect covered property from
further damage This coverage does not
increase the limit of liability that applies to the
property being repaired.

Property Removed. We pay for expense and
damage incurred in the removal of covered
property from the described location
endangered by a Peril lnsured Against. This
coverage exists on a pro-rata basis for 30 days
at each location to which such property is
removed for preservation This is not additional
insurance and does not increase the Coverage
B (Personal Propeny) limit cf liability.

5. Consequentia| Loss. We insure property
covered by this policy against loss due to utility
failure if such failure is a result of physical
damage. caused by a Peri| insured Against, to
power. heating or cooling equipment situated
on the premises where the covered property is
located.

 

PER|LS |NSURED AGA|NST

 

We insure for direct physical loss to the covered
property caused by a peril listed below unless the
loss is excluded in the General Exclusions.
1. Fire and Lightning.
When a premium for sudden and accidental
damage from smoke, windstorm, hurricane and
haill explosion, aircraft and vehicles and riot
and civil commotion is shown on the
declarations. the following perils are made a
part of the Peri|s insured Against.
2. Sudden and Accidental Damage from
Smolte.
This peril does not include loss caused by smog
or by smoke from industrial or agricultural
operations
3. Windstorm, Hurricane and l-lail.

a. Un|ess specitically insured on the
Misce|laneous Property Schedu|e
endorsementl this peril does not include:
(1) loss to cloth awnings, greenhouses and
their contents, buildings or structures
located wholly or partially over water
and their contents

(2) loss to radio and television towers,
outside satellite dishes. masts and

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antennas, including lead-in wiring, wind
chargers and windmills.

b. We do not cover loss caused by windstorm,
hurricane, or hail to the inside of a building
or personal property contained in a building
unless direct force of wind or hail makes an
opening in a roof or wall and rain, snow,
sand or dust enters through this opening
and causes the damage.

4. Explosion.

5. Aircraft and Vehicles.

This peril does not induce loss to outdoor

equipment1 fences. driveways, walks or retaining

walls caused by a vehicle owned or operated by

you or an occupant of the described |ocation.

6. Riot and Civil Comrnot.ion.

When a premium for vandalism and malicious

mischief is shown in the declarationsl the

following peril is made a part of Perils lnsured

Against.

'r'. Vandalism and Ma|icious Mischief.

This peril does not include:

a. loss to glass or safety glazing material
constituan a part of the building other than
glass building blocks.

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02/22/2015 DUUU?IGDT"¢§

b.

Case 7:17-cv-00107 Document 1-2

loss by pilferage, theft, burgtary or larceny, but
we will be liable for damage to the building

Filed in TXSD on 03/29/17 Page 42 of 65

C-U??Z-‘l ?-E

covered caused by burglars.

 

GENERAL EXCLUS|ONS

The following exclusions apply to loss to covered
property:

1.

2.

We do not cover loss to electricat devices or
wiring caused by electricity other than lightning.
Flcod. We do not cover loss caused by or
resulting from flood. surface water, waves,
overflow of streams or other bodies of water or
spray from any of these whether or not driven
by wind.

Governmental Action. We do not cover loss
caused by the destruction of property by order
of governmental authority.

But we do cover loss caused by the acts of
destruction ordered by governmental authority
taken at the time of a tire to prevent its spread,
if the ore would be covered under this policy.
War Damage. We do not cover loss directly or
indirectly from war. This includes undeclared
war, civil war, insurrectionl rebellicn, revolution,
warlike act by military personnel, destruction or
seizure or use for military purpose, and
including any consequence of these. Discharge
of a nuclear weapon will be deemed a wariike
act even if accidental.

Nuc|ear Damage. We do not cover loss
resulting directly or indiredly from nuclear
reaction, radiation or radioactive contamination`
all whether controlled or uncontrolled or
however caused. We cover loss by tire resulting
from nuclear reaction, radiation or radioactive
contamination

Building Laws. We do not cover loss caused
by or resulting from the enforcement of any
ordinance or law regulating the construction,
repair or demolition of a building or structure

a. Coverage Provided.

You may use up to $5,000 {at no additional
premium) for the increased costs that you incur
due to the enforcement of any ordinance or lawl
which requires or regulates:

(1) the constructionl demolition or repair of
that part of a covered building or other
structure damaged by a Peril lnsured
Against;

(2) the demolition and reconstruction ofthe
undamaged part of a covered building
or other structure, when that building or
other stmcture must be totally
demolished because of damage by a
Peril insured Against to another part of
that covered building or other stn.rcture;
or

(3) the remodeling. removal or
replacement of the portion of the
undamaged part of a covered building
or other stmcture necessary to
complete the remodeling. repair or
replacement of that part of the covered
building or other structure damaged by
a Peri| lnsured Against.

You may use all or part of this coverage to pay for
the increased costs you incur to remove debris
resulting from the construction. repair or
replacement of property as stated in (a). above.
This is additional insurance and does not reduce
Coverage A (Dwelling) the limit of liability

b. Building Ordinance or Law Coverage

Limitations.

We will not pay for the increased cost of
construction:

(1) if the building or structure is not rebuilt
or repaired;

(2) ifthe rebuilt or repaired building or
structure is not intended for similar
occupancy as the current building or
structure;

(3) until the building or Structure is actually
repaired or rebuilt at the same
premises; or

(4) unless the rebuilding or repairs are
made as soon as reasonably possible
after the loss or damage, not to exceed
365 days alter loss unless you have
requested in writing that this time limit
be extended for an additional 180 days.

c. We do not coverl

(‘l) the loss in value to any covered
building or other structure due to the
requirements of any ordinance or |aw;
or

(2) the costs to comply with any ordinance
or law which requires any "insured" or
others to test for, monitor, ctean up,
remove. contain. treat. detoxify cr
neutralize, or in any way respond to,
assess the effects of, pollutants on any
covered building or other structure.

Po||utants means any solid, liquid, gaseous or
thermal in'itant or contaminantl including smokel
vapor, soot, fumes, acids, alkalis, chemicals and
waste. Waste includes material to be recycled,
reconditioned or reclaimed.
d. litho insured property is located in an area
which is eligible for coverage through the

4 DFFon'n 1-4

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 43 of 65

Texas Windstorrn lnsurance Association.
the coverage described abovel also applies
to the increased cost you incur due to the
repairl replacement or demolition required
for the dwelling to comply with the building
specifications contained in the Texas
Wlndstorm lnsurance Association's plan of
operation.

A|| other Terrns of the policy apply.
7. MOLD, FUNG| OR OTHER MICROBES. We

do not cover loss caused by or resulting from
moldl fungi or other microbes.

This exclusion does not apply to an ensuing
loss caused by tirel smoke, or explosion
i-loweverl we do cover ensuing mold, fungi or
other microbial losses caused by or resulting
from sudden and accidental discharge, leakage
or overflow of water if the sudden and
accidental discharge, leakage or overflow of
water loss would othenlvise be covered under
this policy_

Sudden and accidental shall include a physical
loss that is hidden or concealed for a period of
time until it is detectable. A hidden loss must be
reported to us no later than 30 days after the

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date you detect or should have detected the
loss.

For purposes of this exclusion, ensuing mold,
fungi, or other microbial losses covered under
this policy include reasonable and necessary
repair or replacement of property covered under
Coverage A (Dwelling) and!or Coverage El
(Personal Property).

We do not cover the cost for remediationl
including testing of ensuing moldl fungi or other
microbes. We do not cover any increase in
expenses for Fair Rental Value (if applicable)
and!or Debris Removal due to remediation and
testing of ensuing mold. fungi or other
microbes.

Remediation means to treat, containl remove or
dispose of mold, tungi or other microbes
beyond that which is required to repair or
replace the covered property physically
damaged by water. Remediation includes any
testing to detect, measure or evaluate mold,
fungi or other microbes and any
decontamination of the dwelling on the
described location or property.

 

DEDUCTIBLE

 

declarations page, The deductible amount applies
to loss or damage caused by to any peril insured
against other than tire or |ightning.

We will deduct from the amount of the loss or
damage to each item of insurance in any one
occurrence the deductible amount shown on the

 

 

COND|T|ONS
Policy Period. This policy applies only to loss 3_ Concealment and Fraud. This policy is void as
which occurs during the policy period. to youI ii you have intentionally concealed or
lnsurable interest and Limit of Liabiiity. Even misrepresented any matena| fact or
if more than one person has an insurable c'mumsla"°e' made false stale':nems or
interest in the property covered. we will not be °°mm'“ed fraud relat'ng t° th'$ msu"a"°e*
liable in any ,055: whether before or after a loss.
a. for an amount greater than the interest of a 4' Res.’dem'a| c°mm""'ty Pr°pemi'.Th£s p°|'cy‘
person insured under this policy; or subject to all_ otherterrns and_condltrons, when

_ _ _ _ _ _ covering residential community property, as
b- for more than inn HDD|ICHb|B ['n'"t Of |labl|lt¥- defined by state law, shall remain in full force
Each time there is a loss to any building insured and effect 35 in inn interest Of each SP°USB
under Coverage A (Dwe||ing)` the amount cf covered, irrespective of divorce or change of
msu lance applicable in that building for loss by cwncrnnip between fhc Spcuses unless
tire will be reduced byrne amount or me loss. excluded br endorsement attached tc thin
As repairs are made, the amount of insurance DO|FC¥- Uniil the \"-`Xpifnlinn Of me Policy OF un“l
will be reinstated up to the limit of liability shown cancelled in accordance with inc terms and
on the declarations page. Cnndili°n$ Of this Policy-

5, Duties After Loss.

Policy A Liquidated Demand. A tire insurance
policyl in case of a total loss by tire of property
insured, shall be held and considered to be a
liquidated demand against the company for the
full amount of the policy. This provision shall not

a. Your Duties After Loss. in case of a loss
to covered progeny caused by a Peril
lnsured Against. you must

(1) give prompt written notice to us of the

app’y to personal propeny' facts relating to the claim.
5 DFForrn 1-5
PIC 000000425 02/22!2015 00007150745

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 44 of 65

(2} notify the police in case of loss by theft

(3) (a) protect the property from further
damage.

(b) make reasonable and necessary
repairs to protect the property.

(c) keep an accurate record of repair
expenses

(4) furnish a complete inventory of
damaged personal property showing
the quantity, descriptionl amount of
loss. Attach all bills. receipts and
related documents which you have that
justify the figures in the inventory

(5) as otten as we reasonably require:

(a) provide us access to the damaged
property.

(b) provide us with pertinent records
and documents we request and
permit us to make copies.

(c} submitto examination under oath
and sign and swear to it.

(6) send to us, if we requestl your signed
sworn proof of loss within 91 days of
our request on a standard form
supplied by us. We must request a
signed sworn proof of loss not later
than the 15th day after we receive your
written notice, or we waive our right to
require a proof of loss. Such waiver will
not waive our other lights under this
policy.

(a] This proof of loss shall statel to the
best of your knowledge and belief:

1) the time and cause of loss;

2) the interest of the insured and
all others in the property
involved including all liens on
the property;

3) other insurance which may
coverthe loss; and

4) the actual cash value of each
item of property and the
amount of loss to each item.

5) the name ofthe occupant and
the occupancy of the property
at the time of the loss,

b. Our Duties After Loss.

(1) Not later than the 15th day alter we
receive your written notice of claiml we
must:

(a) acknowledge receipt of the claim.

lt our acknowledgement of the claim is
not in writing, we will keep a record of
the date, method and cement of our
acknowledgement

(b) begin any investigation of the
claim.

(c) specify the information you must
provide in accordance with item
S.a. above.

We may request additional
inforrnation, if during the
investigation of the claim such
additional information is necessary

(2) Afler we receive the information we
request we must notify you in writing of
the status of your claim:

(a) within 15 business days; or

(b) within 30 days ifwe have reason to
believe the loss resulted from
arson.

(3) lf we do not approve payment of your
claim. we must

{a) give the reason for denying your
clairn. or

{b) give the reasons we require
additional time to process your
claim. Elut, we must either approve
or deny your claim within 45 days
after our request for additional time,

Loss Settlement Our limit of liability and
payment for covered losses will not exceed the
smallest of the following:

a. the actual cash value at the time of loss
determined with proper deduction for
depreciation;

b. the cost to repair or replace the damaged
property with material of like kind and
qualityl with proper deduction for
depreciation; or

c. the specified limit of liability of the policy.

Sa|vage Rights. lf we notify you that we will
pay your claim or part of your claim, the notice
must also state whether we will or will not take
all or any part of the damaged properly. We
must bear the expense of our salvage nghts.

Appraisal.

lf you and we fail to agree on the actual cash
value, amount of loss, or cost of repair or
replacementl either can make a written demand
for appraisal. Each will then select a competentl
independent appraiser and notify the other of
the appraisers identity within 20 days of receipt
of the written demand. The two appraisers will
choose an umpire. |f they cannot agree upon an
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10.

11.

12.

13.

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 45 of 65

umpire within 15 days, you or we may request
that the choice be made by a judge of a district
court of a judicial district where the loss
occurred The two appraisers witt then set the
amount of loss. stating separately the actual
cash value and loss to each item.

|fthe appraisers fail to agree, they will submit
their differences to the umpire. An itemized
decision agreed to by any two of these three
and filed with us will set the amount of the lossv
Such award shall be binding on you and usi
Each party will pay its own appraiser and bear
the other expenses of the appraisal and umpire
equally.

Other |nsurance. lt property covered by this
policy is also covered by other insurance, we
will pay only the proportion of a loss caused by
any Peril lnsured Against under this policy
that the limit of liability applying under this
policy bears to the total amount of insurance
covering the property. if personal property is
insured specifically under any other policy. then
this policy applies as excess insurance over the
specific insurance.

Loss Payment.

a. ll we notify you that we will pay your claim,
or part of your claiml we must make
payment not |aterthan the 5th business day
alter we notify you.

b. |f payment of your claim or part of your
claim requires the performance of an act by
youl we must make payment not later than
the Sth business day alter the date you
perform the act.

Catastrophe Claims. |f a claim results from a
weather related catastrophe or a major natural
disaster, each claim handling deadline shown
under the Duties Alter Loss and Loss Payment
provisions is extended for an additional 15
days.

Catastrophe or major natural disaster means a
weather related event which:

a. is declared a disaster under the Texas
Disaster Act of 19?5; or

b. is determined to be a catastrophe by the
State Boan:l of lnsurance.

Suit Against Us. No suit or action can be
brought unless the policy provisions have been
complied with. Action brought against us must
be started within two years and one day after
the cause of action accrues

Subrogation. ‘r'ou may waive in writing before
a loss. all rights or recovery against any person
|f not waived.

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15.

16.

17.

18.

19.

we may require an assignment of rights of
recovery for a loss to the extent that payment is
made by us.

. Abandonment of Property. There can be no

abandonment of property to us.

No Benetit to Bai|ee. We will not recognize
any assignment or grant any coverage for the
benefit of a person or organization holding,
storing or moving property for a fee.

Vacancy. During the policy terrn, if an insured
building is vacant for 60 consecutive days
immediately before a losst we will not be liable
for a loss by the perils of tire and lightning or
vandalism or malicious mischief. Coverage may
be provided by endorsement to this poticy.

Liberalization, lf the State Board of insurance
adopts a revision which would broaden or
extend the coverage under this policy without
additional premium within 45 days prior to or
during the policy period, the broadened or
extended coverage will immediately apply to
this policy.

Waiver or Change of Policy Provisions.
Changes in this policy may be made and penis
insured against added only by attaching a
written endorsement property executed by our
authorized agent. No provision of this policy
may be waived unless the terms of this policy
allow the provision to be waived. Our request
for an appraisal or examination will not waive
any of our rights.

Mortgage Clause (without contribution).
a. The word “mortgagee' includes trustee.

b. We will pay for any covered loss of or
damage to buildings or stmctures to the
mortgagee shown on the declarations page
as interests appear.

c. The mortgagee has the right to receive loss
payment even ifthe mortgagee has started
foreclosure or similar action on the building
or structure

d. |f we deny your claim because of your acts
or because you have failed to comply with
the terms of this policy, the mortgagee has
the n‘ght to receive loss payment if the
mortgagee:

(1) at our request, pays any premiums due
under this policy, if you have failed to
do so.

(2) submits a signed, sworn statementh
loss within 91 days after receiving
notice from us of your failure to do so.

(3) has notihed us of any change in
ownership. occupancy or substantial
change in risk known to the mortgagee

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20. Cance|lation. c.
a.

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 46 of 65

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All of the terms of this policy will then apply
directly to the mortgagee Failure of the

mortgagee to comply with d,(t), d.(2) or b_

d.(3} above shall void this policy as to the
interest of the mortgagee

lt we pay the mortgagee for any loss or
damage and deny payment to you because
of your acts or because you have failed to
comply with the terms of this policy:

(1) The mortgagee's rights under the
mortgage will be transferred to us to the
extent of the amount we pay.

(2) the mortgagee's right to recover the full
amount of the mortgagee‘s claim will
not be impaired

At our option, we may pay to the mortgagee
the whole principal on the mortgage plus
any accrued interest ln this evenly your
mortgage and note will be transferred to us
and you will pay your remaining mortgage
debt to us.

|f this policy is cancelledl we will give the
mortgagee specifically named on the
declarations page written notice of
cancellation

|f we cancel the policy, we will give the
mortgagee the same number of days notice
of cancellation we give you.

lf you cancel the policy` we will give the
mortgagee notice of cancellation to be
effective on the date stated in the notice.
The effective date of cancellation cannot be
before the 1 Oth day after we mail notice.

We will not give notice of cancellation to
any successor or assignee of the
mortgagee named in this policy.

lf the property described under Coverage A
(Dwellirig) is foreclosed upon under the
deed of trust, the mortgagee may cancel

this policy of insurance and will be entitled G_

to any unearned premiums from this policy.
The mortgagee must credit any unearned

premium against any deficiency owed by d.

the borrower and retum any unearned
premium not so credited to the borrower.

li we elect not to renew this policy, the
mortgagee specifically named orr the
declarations page will be given written
notice of the non-renewal not later than the

30th day before the date on which this b.

policy expires

You may cancel this policy at any time by
notifying us of the date cancellation is to

E.

take effect We will send you any refund
due when the policy is returned to us.

We may cancel this policy only for the
reasons stated in this condition by giving
you notice in writing of the date cancellation
takes eh'ect.

{1) lf this policy has been in effect for less
than 90 days and is not a renewal
policy. we may cancel this policy for
any reason

The effective date of cancellation cannot be
before:

(a) the toth day alter we mail notice if
we lancel for non-payment of
premium.

(b) the SUth day atterwe mail notice if
we cancel for any other reason

(2) lf this policy has been in effect 90 days
or morel we may not cancel this unless:

(a) you do not pay the premium or any
portion of the premium when due.

(b} the State Board of insurance
determines that continuation of the
policy would violate the Texas
lnsurance Code or any other laws
governing the business of
insurance in this state.

(C)
{d`l

you submit a fraudulent claim.

there is an increase in hazard
covered by this policy that is within
your control and that would
produce an increase in the
premiurnlrate of this policy.

The effective date of cancellation
cannot be before the 10th day after
we mail the notice. Our notice of
cancellation will state the reason
for cancellation

lf we cancell our notice to you will state that
if the refund is not included with the nctice,
it will be returned on demand

We may not cancel this policy solely
because you are an elected official

21. Refusal to Renew.

We may not refuse to renew this policy
because of claims for losses resulting from
natural causes.

We may not refuse to renew this policy
solely because you are an elected official

We may refuse to renew this policy if you
have filed three or more claims under the
policy in any three year period that do not
result from natural causes.

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lf you have filed two claims in a period of
less than three years. we may notify you in
writing. that if you tile a third claim during
the three year period, we may refuse to
renew this policy by providing you proper
notice of our refusal to renew as provided in
d. below. |f we do not notify you alter the
second claim, we may not refuse to renew
this policy because of losses.

A claim does not include a claim that is filed
but is not paid or payable under the policy.

lf we refuse to renew this policy, we must
deliver to you, or mail to you at your mailing
address shown on the declarations page
and any mortgagee named in the
declarations page, written notice of refusal

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 47 of 65

to renew not later than the 30th day before
the date in which this policy expires. Proof
of mailing will be sufficient proof cf notice. lf
we fail to give you proper notice of our
decision to refuse renewall you may require
us to renew the policy.

22. Assignment. Assignment of this policy will not
be valid unless we give our written consent

23. Death. lfthe named insured dies, we insure:

a.

b.

the named insured's spuuse. if a resident of
the same household at the time ofdeath-

the legal representative of the deceased
only with respect to the described premises
of the named insured.

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02/22/2015 000071507{5

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 48 of 65

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NAM ED WlNDSTORM DEDUCT|BLE ENDORSEMENT

This endorsement changes your policy. Please read r`f carefully and keep it with your policy.
The following item is added to DEFlNlTlONS:

"Named windstorm" means a tropical cyclone declared by the Nationa| Weather Service (NWS) to be

a “hun'icane' or 'tropica| storm”. if the NWS goes away or stops performing those functionsl such a

determination will be from a similar service chosen by us. The duration of the named windstorm

includes the following:

a. the time period when a named windstorm watch or named windstorm warning issued by the NWS
is active for any part of this state or a bordering state or country;

b. the time period during which the named windstorm conditions exist anywhere in this state; and

c. the 24 hours following the termination of the last named windstorm watch or named windstorm
warning issued by the NWS for any part of this State or a bordean state or country, or if a watch
or warning is not issued, then 24 hours following the termination of the named windstorrn's
classification as a "hun'icane“ or "tropica| storrr'r.n whichever occurs last.

The following item is added to DEDUC`HBLE:
The "Named 'Nrndstonn Deductib|e' shall apply when the date of the direct physical loss to the
covered property is caused by or results from a named windstorm. This deductible applies regardless
of any other cause or event contributing concurrently or in any sequence to the loss- No other
deductible applies to direct physical loss caused by or resulting from a named windstorm.

All other provisions of your policy appiy.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 49 of 65

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PROPERTY AMENDATORY ENDORSEMENT

This endorsement changes your policy. Piease read if carefully and keep it with your policy.
Number ?. under COVERAGE B [PERSONAL PROPERTY), Property Not Covered, is replaced with the
following:

7. We do not cover watercraft. including outboard motors, fumishingsl and equipment We will pay
up to $1.000 for loss or damage by a covered peril when watercraft is located on land at the
described premises This coverage is not additional insurance. lt does not increase the amount
of insurance available underCOVERAGE B (PERSONAL PROF'ERTY}.

All other provisions of your policy apply.

@ 201 il We||ington Risk lnsurance Agency, lnc.
SD F~D? (12!14)

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 50 of 65
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SPEC|AL PROV|S|ONS ENDORSEMENT

lhis endorsement changes your policy. please read il carefully and keep it with your policy.

The following item is added to DEFlNlTIONS:

"Dwelling" means the building and its attached structures at the location described on the Policy
Dec|arations when used as a residence

"Solar panel systems’ means ali components necessary to capture and convert solar radiation to
power, inciuding, without limitation: elevated panes or plates, or a canopy or array thereof; the bases
or foundation of the panelsl plates, canopy, or array; charge controllers; power inverters; storage
batteries; generators; wires and cables; and meters and monitors.

‘Vacancy' or “vacant' means when the single family dwelling identified as the insured property in the

Policy Declarations is: (1) void of a substantial part of the personal property customary to the use of

the dwelling as a residence; or (2) not lived in as a customary and usual place of habitationl which
= exists even if the dwelling contains furnishings, and no one is residing in it.

The following item is added to COVERAGE A {DWELL|NG]:

Property Not Covered. We do not covert

1. solar panel systems, whether or not attached to the dwelling on the described location shown in
the Policy Declarations, including structures attached to the dwelling, or other structures on the
described location, set apart from the dwelling by clear space

The following item is added under CDVERAGE B lPERSONAL PROPERTY), Property Not Covered:
B. solar panel systems

Number 1. under GENERAL EXCLUSIONS is amended to include the following:

This exclusion does not apply to direct physin loss that is sudden and unexpected as to all insured
persons caused by tire or explosion.

Number 2. under GENERAL EXCLUS|ONS is replaced with the following:

2. We do not cover loss to the property described in Coverage A (Dwelling) or Coverage B
(Personal Property) consisting of or caused by the following, and such loss or damage is
excluded regardless of the cause of the excluded event and whether the event occurs suddenly
or graduallyl arises from natural or external forces, or occurs as a result of any combination of
these:

a. floodl including, but not limited to, surface water, waves, tidal water or overhow of any body
of waterl or spray from any of these, whether or not driven by wind.
b. water or any other substance that:
(‘l) backs up through sewers or drains; or
(2) leaks or overflows from a sewer, drain, sump pump, sump pump welll or other system
designed for the removal of subsurface water which is drained from a foundation area of
a structurel
c. water or any other substance on or below the surface of the groundl regardless of its source.
This includes water or any other substance which exerts pressure on. or ticws, seeps or
leaks through any part of the described location. building. sidewalk, driveway, foundation,
swimming pooll spa or other structure
d. earth movement of any type. including, but not limited tol earthquake, volcanic eruptionl lava
flowl landslidel subsidence, mudf|ow, pressure, sinltho|e, erosion, or the sinking, rising,
shifting, creepirlg, expanding, bulging, cracking. settling or contracting of the earth. This
exclusion applies whether or not the earth movement is combined with water.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 51 of 65

C-O?‘?Z-i ?-E

SPEC|AL PROV|S|ONS ENDORSEMENT

We do cover direct physical loss that is sudden and unexpected as to all insured persons caused
by tire, explosion or theft resulting from items a. through d. above.

Number 6. under GENERAL EXCLUS|ONS is amended to include the following after the first sentence in
the first paragraph:

Except, however, we do provide coverage to the extent described under PER|LS lNSURED
AGA]NST and only to the extent described below in subparts a. through d.

The following items are added under GENERAL EXCLUSlONS to apply to COVERAGE A (DWELL|NG)
and COVERAGE B (PERSONAL PROPERTY):

B. Settling, Cracking, Bulgirlg, Shrinkage, or Expansion. We do not cover loss consisting of,
caused by, or resulting from settling, cracking. bulging. shrinkage, or expansion of foundations,
slabs, wal|s. iloors, ceilingsl roof stmctures. walks. drives. curbs, fences, retaining walls,
bulkheads, spas, or swimming pools, regardless of the cause of the excluded event and whether
the event occurs suddenly or graduallyl arises from natural or external forces, or occurs as a
result of any combination of these.

9. Outdoor Equipment, Fences, Driveways, l.lllalks, Lawns, Trees, Shrubs, Plants, Retaining

Walls or Bulkheads.

a. We do not cover loss to outdoor equipment_ driveways, walks, lawns, trees, shrubs, plants, or
retaining walls or bulkheads not a part of the buildingl regardless of the excluded event. This
subpart only applies to peril numbers 2 and 3.

b. We do not cover loss to fences, regardless of the excluded event. This subpart only applies
to peril number 2.

10. Wear and Tearl inherent Vice, Rust, Deterioration, Decay, Rats, Mice. Vermin, Termites,
Mo'drs or Other lnsects, Contamination, Neglect, improper Maintenance, Fai|ure to Make
Proper Repairs, Failure to N'lake Tnnely Repairs. We do not cover loss caused by:

a_ wear and tear inherent vice rust deterioration decay or loss caused by any quality in
property that causes it to damage or destroy itself This subpart does not apply to Peri| B;
rats mice vermin terrnites moths or other insects
contamination; or
neglect, improper maintenance the failure to make proper repairs or the failure to make
timely repairs.

P-PS:"

11_ Planning, Zoning, Construction or Maintenance. We do not cover loss consisting of, caused
by, contributed to or aggravated by, or resulting from inadequate or defective planning, zoning,
development surveying, siting, design. specifications workmanshipl constnictionl grading,
compaction, maintenance repairs, or materials, whether used in construction, remodeling.
maintenance or repair of part or all of any property {inciuding land, structures or any
improvements) whether on or off the described location, regardless of the excluded event.

12. lntentional Conduct. We do not cover loss intentionally caused by an insured personl tenant or
resident of the tenant‘s household This exclusion will not apply to an innocent spouse or an
insured person who did not contribute to such loss or to the interest of an innocent spouse or
insured person in the damaged property.

Number 12. under COND|`liONS is replaced with the following:

12. Suit Against Us. No suit or action can be brought unless the policy provisions have been
complied with. Action brought against us must be started within hud years and one day after the
cause of action accmes. lf you seek damages rn an action against us under Chapter 541 of the
Texas insurance Code, you must provide written notice to us not later than the 61st day before
the date the action is fled The notice is not required if giving notice is impracticable because the
action is asserted as a counterclaim We agree to toll your time to a tile a suit once notice is

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 52 of 65

C-D??Z'i 7-E

SPEC|AL PROV|SIONS ENDORSEMENT
provided until 5 days after the expiration of this notice period.
Number 211 under CONDIT|ONS is replaced with the following:

20. Cancellation.

a. You may cancel this policy at any time by notifying us of the date cancellation is to take
effect Any refund due shall be returned to you not later than the 15th business day after the
effective date of cancellation

b. lf this policy has been in effect for less than 60 days, we may cancel the policy if:

(1) we identify a condition that:

(a) creates an increased risk of hazarrd;
(b) was not disclosed in the application for insurance coverage; and
(c) is not the subject of a prior claim; or

(2) before the effective date of the policy. we have not accepted a copy of a required
inspection report that:

(a) was completed by an inspector licensed by the Texas Real Estate Commission or
who is othenrvise authorized to perform inspections; and

(b) is dated not earlier than the 90th day before the effective dale of the policy.

An inspection report is considered accepted if we do not reject it before the iith day after

the date the inspection report is received by us.

c, We may cancel this policy at any time for any of the following reasons:

(1) you do not pay the premium or any portion of the premium when due.

(2) the Department of insurance determines that continuation of the policy would violate the
Texas lnsurance Code or any other laws goveming the business of insurance irr this
state.

(3) you submit a fraudulent claim.

(4) there is an increase in the hazard covered by this policy that is within your control and
that would produce an increase in the premium rate of this policy.

d. The effective date of a cancellation cannot take effect omit the ‘llJth day after we mail the
notice of cancellation to you.

e. |f we cancell any refund due shall be returned to you not later than the 15th business day
after the effective dale of cancellation

f. We may riot cancel this policy solely because you are an elected ofticial.

The following provisions are added to CONDIT|ONS and shall apply to all coverages under the policy:

What LawWi|l Apply. This policy is issued in accordance with the laws of Texas and covers property
or risks principally located in Texas. The laws of Texas shall govern all claims or disputes in any way
related to this policy.

Where Suits May Be Brought. Any and all suits related to this policy will be brought, heard and
decided only in a state or federal court located in the state in which the dwelling at the described
location shown in the Policy Declarations is located. Any and all suits against persons not a party to
this policy but involved in the sale, administration, performance or alleged breach of this policy. shall
be brought. heard and decided only in a state or federal court located in the state in which the
dwelling is |ocated. provided that such persons are subject to or consent to suit in the courts specilied
in this paragraph. -

Nolhing in this section shall limit or impair any party‘s right to remove a state court suit to a federal
court.

Ranevval. lfwe offer to renew this policyl you may accept the offer only by payment of the premium
due to us on or before the effective dale of the renewal policy.

Afl other provisions of your policy appiy.

© 2014 Wellington Rlsk lnsurance regencyl lnc_ 3
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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 53 of 65

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LOSS SETTLEMENT ENDORSEMENT

This endorsement changes your policy, Please read ft carefully and keep if with your policy.

Number 5. \"our Duties After Loss is amended to include the following in number 5.a.(6)(a):

5)

if you elect to make a claim for replacement cost under this policy, this proof of loss shall also
state to the best of your knowledge and belief:

The replacement cost of the described dwelling.
The replacement cost of any other building on which loss is claimed.

The full cost of repair or replacement (by a licensed contractor) of loss without deduction for

depreciation

Number 6. under COND|TIONS is replaced with the following:

6, Loss Settlement

a. For covered losses under COVERAGE A (DWELL|NG), except wall-to-wall carpetingl cloth

awnings, and fencesl we will pay the replacement cost value (RCV) of the damaged

propertyl subject to the following:

(1) lfl at the time of loss the Coverage A limit of liability is BD% or more of the full RCV of
the dwelling, we will pay the repair. rebuild. or replacement cost of the damaged
building structure(s) without deduction for depreciation.

(2) |fl at the time of loss. the Coverage A limit of liability is less than 80% of the full RCV
of the dwelling, we will pay only a proportionate share of the full RCV of the damaged
building structure(s). Our share is equal to:

Rcv of the Loss x Coverage A tDwelling| Limit of Liabilig
80% of RCV of the Dwe|ling
(3} lfl at the time of lossl the actual cash value of the damaged building structure(s) is
greater than the RCV determined under (t) or (2) above, we will pay the actual cash
value up to the applicable limit of liability.

When we determine the amount of insurance to equal BO% of the full RCV of the dwelling,
we do not include the value of excavations, underground pipes and wiring. and
foundations that are below the surface of the ground.

We will pay only the actual cash value of the damaged building structure(s) until repairl
rebui|d, or replacement is complete. Repair. rebuildl or replacement must be completed
within 365 days after loss, unless you request in writing that this time limit be extended for
an additional 180 days. Upon completion of the repairs, rebuilding, or replacement. we
will pay the additional amount claimed under RCV, but our payment will be the smallest of
the following:

(i) the amount actually and necessarily spent to repair, rebuildl or replace the damaged
building structure(s), _

(2) the cost to repair, rebuildl or replace that part of the building structure(s) damaged with
material of like kind and quality and for the same use and occupancy on the same
premises

(3) the limit of liability applicable to the damaged or destroyed building structure(s).

Proof of the repairs, rebuilt, or replacement must be submitted.

For covered losses under COVERAGE B (PERSONAL PROPERTY) and to wall-to-wall

carpetingl cloth awnings, and fencesl we will pay the smallest of the following:

(1) the actual cash value at the time of loss determined with proper deduction for
depreciation

(2) the cost to repairl rebui|d, or replace the damaged property with material of like kind and
quality, with proper deduction for depreciation

(3) the specified limit of liability.

Arr other provisions of your policy appfy.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 54 of 65

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ln thc event of a claim under this policy, please notify:

Wcllington Claim Scrvice, lnc_ Tclephone: (SDO) 44?~6465
PO Box 1116 ('?6101-1116) (817) 738-1878
680] Calmont Avc

Ft. Worth, TX 76116 Facsimile: (8(]0) 880-4049

(317) 732-2131

 

IN WITNESS WHEREOF, Palomar Specia]ty lnsurance Company has
caused this policy to be signed by its President and Secretary and
countersigned on the declarations page by a duly Authorized Agent of the

Colnpany.
Heath A. Fisher David M. Armstrong
Secretary and Execntive Vice President President
PSD3UB

02/22/2015 UUUOTJ.E|J?{§

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 55 of 65

C-U'}'TZ~l'?-E
275TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

CITATION
STA'I`E OF TEXAS

NOTICE 'l` 0 DEFENDANT: You have bccn sucd. You may employ an attorncy. If
you or your attorney do not tile a written answer with thc clerk who issued this citation
by 10:00 a.m. on thc Monday next following thc expiration of twenty {20} days after you
were served with this citation and pctition, a default judgment may be taken against you.

Palomar Specialty lnsurance Company
CT Corporation System

1999 Bryan Street Suite 900

Dallas TX 75201-3140

You arc hereby commanded to appear by filingr a written answer to thc PLAINTIFF’S
ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE on or before ]0:00
o`clocl< a._m. on the Monday next after the expiration of twenty (20) days after thc date of
service hcrcof. before thc Honorable Jllall Partida, 275th District Court of Hidalgo
County_. Tcxas at thc Courlhousc at 100 North Closncr. Edinburgq Texns ?8539.

Said petition was filed on this the l'i'lh day of Februnry. 201? and a copy of same
accompanies this citation. The tile number and style of said suit being C-{}Tr'Z-l?-E.
N]])IA REYNA VS. PALOMAR SPECIALTY INSURANCE COMPANY AND
.lOHN CZUHAJEWSKI

Said Pctition was filed in said court by BRENT LEE KLENDER_ 570? LNTERSTATE
TEN WEST SAN ANTONIO TX ?820].

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof

The officer executing this writ shall promptly serve the same according to requirements
oflaw. and the mandates thcrcof. and make due return as the law directs

ISSUED AND GIVEN UNDER MY I-IAND AND SEAL of said Couri at Edinburg.
Tcxas on this the 22nd day of Fcbruary. 201?.

LAURA HINO.IOSA, DISTRICT CLERK
100 N. CLOSNER. EDINBURG_. TEXAS
H]])ALGO COUNTY, TEXAS

l "“ _

MARCOS LOPL;S, DEPUTY CLERK

 

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 56 of 65

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Hida|go County District Clerks
Reviewed By: Krysta| Hida|go

C -0772- l?-E
O`FFiCER‘S RETURN

Catne to hand on ot` . 201 at o'elock .m, and
executed in County. Texas by delivering to each o!` the within named
Defendant in person-, a true copy of this citation. upon which l endorsed the date of
delivery to said Defendant together with the accompanying copy of the
fpctition l at the following times and places to-wit:

 

 

 

 

 

 

 

 

 

 

 

NAME DATE TIME PLACE
And not executed as to the defendant. the
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of other process in the sam-- _,

 
  
   

   

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DE?UTY

COl\'lPLE'I`E IF YOU ARE PERSON OTI{ER THAN A SHERIFF.
C(JNSTABLE OR CLERK OF THE COUR'I`
ln accordance to Rule i{?“?. the officer or authorized person who serves or attempts to
serve a citation must sign the return. lf the return is signed by a person other than a
sheriff constable or the clerk of the court the return must either be verified or be signed
under the penalty of perjury A return signed under penalty of perjury must contain the
statement below in substantially the following form:

Fees: serving copyts) 5
miles 5

 

 

“My name is . my date of birth is
and the address is .and I
declare under penalty of perjury that the foregoing is true and correct

EXECU'I`I£D in County. Surte of Texas. on the day of
.`_’-01,____

 

Declarant”

 

If' Certified by the Supreme Court of Tex.as
Date of Expiration i" SCH Number

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 57 of 65
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Hidalgo County District Clerks
Reviewed By: Krysta| Hida|go

CAUSE NO. C-O772-17-E

NlD|A REYNA § |NTHE D|STR!CT COU RT
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P|omtiff, §

VS. § 2?5`!`!"¥ DISTR|CT COURT
§
PALDMAR SPEC£ALTY |NSURANCE COMPANY AND §

IDHN CZUHM EWSK|
Defendant § H|DALGCJ COUNTY, TEXAS

AFF!DAVLT OF SERVlCE - CERTl FIED MAIL

 

On this day personally appeared Teresa Ramos who, being by me duly sworn. deposed and said:
"The follow=ng came to hand on Febrtzary 22. 2017, 12:50 pm,
C|?ATtON & PLAINT!FF`S OORiGtNAL PETtT|ON ANO REQUESTS FDR DlSCLOSURE ,

and was executed on March 3 2017 by mailing to PALC>M§R SPECEALTY lNSURANCE COMPANY BY DEL£VERING TD CT
CCtRPORAt-IDN SY$°¥£M at 1999 BRYAN STREET 90, DA£.LAS. TEXAS ?5201. by regular mart and by fortified Mall, Rerurn
Ri?cetpt Reouested, Receipt No. 7015 3430 0001 0199 37€}5k a true copy of this citation

The regular mall envelope wAS NOT returned PS Forrn 3811 was returned on March E. 2017 having been SlGNED ON
February 27. 2017 and is attached hereto

iam a person over eighteen {18} years of age and t am competent to make this affidavit l am a resident ofthe State of
Te><as. i am familiar with the texas Rules of C'Nll procedure as they apply to service of Process. | am not a party to this
suit nor missed or aft°atiated with any herein and have no interest m the ot.tcoma of the sult. l have never been convicted
of a .‘eiony or of a misdemeanor invoking moral turpitude f have personal knowledge of the facts stated herein and they
are true and correct,"

 

tit-rosa Rarnos
SCH# 10049 Expires 1?'30-38
Bexar County. Texas

BEFORE ME. a Notary Publtc, on cth day personat|y appeared Teresa Ramos, known to me to be the person whose name
is subscribed to the foregoing document and be:ng by me nrst duly sworn declared that the statements therein
contained are \.»vithin his or her personal knowledge and are true and correct

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Ndiary Pubtic, State othan " :

Date ?P\{l l \ \f! , iv - ql…"
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Dlstrietf,`,l{erk. t-lidal County. Texas
Bv -|n_ `_

  

   

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Deputy#B

  
  
  

 
 

         
   
  

 

 

 

   
  

 

 

 

 

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 59 of 65

C-{)')'TZ-l?-E
275TH DISTRICT COURT_. HI'DALGO COUNTY. TEXAS

CITAT ION
STATE OF TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If`
you or your attorney do not file a written answer with the clerk who issued this citation
by lO;l}U a.rn. on the Monday next following the expiration of twenty (2{)] days after you
were served with this citation and petition. a defaultjudgrnent may be taken against you.

.lohn Czuhajewski
705 Allen Street
Copperas Cove TX 76522-3151

You are hereby commanded to appear by filing a written answer to the PLAINTTFF’S
ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE on or before 10:00
o`c]ock a.in. on the Monday next after the expiration of twenty (20} days after the date of
service hereof`. before the Honorable ,]uan Partida, 275th Distriet Court of Hidalgo
County. Texas at the Courthouse at 100 North Closner_. Edinburg, Texas ?3539.

Said petition was filed on this the l?th day of February. 201? and a copy of same
accompanies this citation. The f'lle number and ster of said suit being C-O??Q~I?-E.
NIDIA REYNA VS. PALOMAR SPECIALTY INSURANCE COMPANY AND
JOHN CZUHA.]EWSKI

Said Petition was filed in said court by BRENT LI:`.E KLENDER. 5?0?' lNTERSTATH
T'EN WE.ST SAN AN'I`ON[O TX ?8'-’_[]].

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of lawq and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 22nd day of February. 201?.

LAURA HINO.]OSA, DISTRICT CLERK
100 N. CLOSNER, EDINBURG, TEXAS
H[DALGO COUNTY.. TEXAS

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MARCoS*`LoPL§, I)EPUTY CLERK

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 60 of 65
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31‘20;‘201 7 8:37:05 AM
Hidalgo County District C|erks
Reviewed By: Krysta| Hidalgo

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le)l.»\ REYNA IN Tlll§ I)lS'l`RIC'I` (_`OUR']`
V. 275 "" _lU[)lClAL DISTRIC'E`

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C()MPANY AND .l{`}llN CZUIIAJEWSKI §

lll[);‘-\l.(j() COUN'I"¥'. 'I`F.XAS

DIL`I"IL`ND.-\NT PAI_.OMAR SPECIALTY lNSL’RAl\"CE (.`OM PANY‘S
ORlGINAL ANS\VER

TO Tl Il;` lIONORABLE JUDGE OF SAID (_`(JUR’I`:

COMES NOW. PAI_.(_)MAR SPECI.»'\L'I`Y INSURANCE COMI’ANY. [)eli-:ndant in the
abate-styled and numbered eause. and makes and tiles this_ its originai answer in reply to
Plaintil`l`s l’etition. and f`or such answer would respectfully shot\' unto the Cout"t the following:

l.

Pursuant to Rule 92 ot` the `l`exas Rules of Ci\'il Proccdure. Defendant generally denies the
allegations contained within Piaintit`l"s Petition and demand strict proof thereon by a preponderance
of the credible evidence in accordance with the laws oi` the State ol`Tesas.

l

Pleadin_z; further and without waiver ol` the above_ Defendant denies the occurrence of all
conditions precedent to Plaintii`l`s elaiin. Without limiting the foregoing Defendant denies that
there has been full compliance with all terms and conditions ot` the insurance policy at issue as
required prior to Plaintif`i`bringing suit. including but not limited to, the requirement that payment
is only due at`ter agreement is reached on the amount ot` loss or an appraisal award has been tnade.

3.

I‘leading further and without waiver of the abo\'e. Defendant requests that this Cour't

compel mediation pursuant to TEXAS INSURANCE CODE § 541.161(:1}. 'I`his mediation is required

l| . _,.r~_

t "' `°'l

bare il\L“ ' ‘ ~ ’
A true copy | certify
LAURA H|NOJOSA

DistrietHS{R. Hida{{;o/Cougty, Texas
By =. '[' ltfv Deputy#B

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 61 of 65
Electronically Filed

3)`2[]!2017 8237205 AM
Hida|go County Distn`ct Cletl<s
Reviewed By: Krysta| Hic|atgo
under the rl`c)tas lnsurance Code and 'l`e.‘~;as Business & Commcrcc Codc. `l`t§}t. lNS. CUDE
§5-'!-1.16](11).
4.
Additiona|l}'. the insurance policy pertaining to the claims asserted b_\-' the Plaintil`t`includes
a specific “Appraisal" clause which sets forth the procedure in tlie event ol"a disagreement ofthe
amount ol` the loss- Specilieally. the policy requires that. upon written request. the propertyr must
be appraised by each party`s own independent appraiser. in the event of a disagreement in the
appraisal. the differences arc submitted to an umpire for determination Defendant insurance
company was potentially deprived ot` the opportunity to invoke the appraisal clause prior to suit.
i-`urther_ the lawsuit potentially prevented Defendani insurance company l`rotn attempting to
resolve the alleged problems` reaching an impasse or invoking the appraisal clause. ifneccssar_v.
Defendant insurance company reserves the contractual ri gin to invoke this clause and that the
propertyr be appraised according to the terms ofthe applicable insurance policy if the parties reach

an impasse Defendant insurance company has not waived and is not waiving this provision and

mayv assert it in the l`uturc.

'Jl

Pursuant to Ruie 193.?' of the Texas Rules ol` C`it'il Pt'ocedure. Defendant hereby gives
actual notice to Plainti{l`that any and all documents and materials produced in response to written
discovery may be used as evidence in this casc; and. that any such materials may be used as
evidence against the partyl producing the document at any pretrial proceeding and.for at the trial ol"
this matter without the necessity of authenticating the document andlor materials produced in

di scovery.

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Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 62 of 65

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Reviewed By: Krysta| Hida|go

chucsts i`or i)isclosure

At tize time required by law or the Rules, this Defendant requests the Plaintil`t` to respond

to all ot`the matters in 'l`R('_`I’ t‘}-Z.E.

WI[HRI§FORF. PRl_".z\-HSIIS C()NSII)F.RI:`.D_. Defendant prays that upon tinal hearing

lrereot`. that Plaintitt` not recover against Defendant and that l)el'cndant goes hence with its costs

without day and for such other and further reliei’, at law or in equit_v_ to which Defendant may

justly show itself entitled to rcccive.

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P!‘i|t' ~ P \tit'$or 4

Respcctl`ull_\' submitted._

Gault. N_\’e & Quintana. L.L.P.
P.O. Bos 6666

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{361) 654~7001 'l`ctecopicr

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By: l ' .'»¢'“w%_, ;_- n
'l`hon'tas F. Nye
Statc Bar No. 15l54025

Williatn Gault

Slate Bar No. {1?765050
Gautt. N}-'c & Quinzana. L,I..P.
l’.(). Box 5959

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.»\TTORNEYS ron DEFENDANT P.-\Los-tnu
SPEcl.-\LTY I.\'st.'RA!\'CE CostPA\n'

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 63 of 65

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I. 'I`!w-lznls I"'. Xyc, hereby certify that 011 the day oi`I\-Iul'ch. 20 1 ?'. a true and correct
copy 01`1[1\: above and foregoing document was served upon the lbllm\'ing counsel as indicalcd:

 

A rfczrzre"VS {E.‘n' P!m`n!:`[f`

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Thomas F. N}'c

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V.

PAI,OMAR SPF.`C`[ALTY INSI,IRANCL€
COMPANY AND .l()lIN CZUIIAJI;`WSKI

IN 'I`I IF. DISTRICT COURT

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COMES NC\W, PAL()MAR SI’ECIALT\" INSURA`.`\`CE C()MPANY~ Defendant in Ll1e

above-referenced eause. and demands a lrial hyjury. The jur_\-' £`ee has been paid by lhe Plaimif?`.

Rcspeeti`ul ly submillcd.

Gauil_ l\'ye & Quintana, L.L.P.
l’.(). Box 6666

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.‘~`.tmc Bar No. 15154{}?.5

 

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DSTE di ` l §
A true cop§) l certify
_ _ LAURA HINO`JOSA
Drstne_t CJ§H<§. Hida|gp County_ Texas

By_ ___-L-r_y-L f_f.`_:;% 4 Deputy#S

 

Case 7:17-cv-00107 Document 1-2 Filed in TXSD on 03/29/17 Page 65 of 65

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l. `I`homas IT. N_Ve, hereby eer'tify that e)n the - day ol`Mareh. 201 7‘ a true and correct eop_\_'
ofthe above and foregoingv doeumenl was served upon the following counsel as indie;\ted:

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Don Creok

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'I`homas i~`. Nye

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